                      Case 22-40187-elm11 Doc 46 Filed 02/11/22                                                                               Entered 02/11/22 21:33:48                                Page 1 of 89


 Fill in this information to identify the case:

 Debtor name                                        O'Connor Construction Group, LLC

 United States Bankruptcy Court for the:
                                                 Northern District of Texas


 Case number (if known):                                                                         Chapter           11                                                                                 ❑Check if this is an
                                                                                                                                                                                                         amended filing

Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                                             12/15

 Part 1: Summary of Assets


 1. Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

    1a. Real Property:
            Copy line 88 from Schedule A/B........................................................................................................................................                                         $2,627,507.00


    1b. Total personal property:
            Copy line 91A from Schedule A/B......................................................................................................................................                                          $3,807,418.37

    1c. Total of all property:
            Copy line 92 from Schedule A/B.........................................................................................................................................                                        $6,434,925.37




  Part 2: Summary of Liabilities




 2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
    Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D.................                                                                                                           $5,024,984.40



 3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

    3a. Total claim amounts of priority unsecured claims:
            Copy the total claims from Part 1 from line 5a of Schedule E/F....................................................................................                                                               $45,503.93


    3b. Total amount of claims of non-priority amount of unsecured claims:
            Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F......................................................                                                             +           $11,976,202.76




 4. Total liabilities..............................................................................................................................................................................                       $17,046,691.09

    Lines 2 + 3a + 3b




Official Form 206Sum                                                                                      Summary of Assets and Liabilities for Non-Individuals                                                                    page 1
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 Fill in this information to identify the case:

 Debtor name                         O'Connor Construction Group, LLC

 United States Bankruptcy Court for the:
                                   Northern District of Texas


 Case number (if known):                                                                                                                  ❑Check if this is an
                                                                                                                                             amended filing

Official Form 206A/B
Schedule A/B: Assets — Real and Personal Property                                                                                                                      12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest. Include all property in which
the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties which have no book value, such as fully depreciated
assets or assets that were not capitalized. In Schedule A/B, list any executory contracts or unexpired leases. Also list them on Schedule G: Executory Contracts and
Unexpired Leases (Official Form 206G).
Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write the debtor’s name and
case number (if known). Also identify the form and line number to which the additional information applies. If an additional sheet is attached, include the amounts
from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset schedule or depreciation
schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the debtor’s interest, do not deduct the value of secured
claims. See the instructions to understand the terms used in this form.


 Part 1: Cash and cash equivalents


  1.   Does the debtor have any cash or cash equivalents?
       ❑No. Go to Part 2.
       ✔Yes. Fill in the information below.
       ❑
       All cash or cash equivalents owned or controlled by the debtor                                                                         Current value of debtor's
                                                                                                                                              interest

  2.   Cash on hand

  3.   Checking, savings, money market, or financial brokerage accounts (Identify all)
       Name of institution (bank or brokerage firm)                Type of account                      Last 4 digits of account number
       3.1 Citizens Bank of Texas                                       Checking account                            7062                                      $12,563.38

       Additional Page Total - See continuation page for additional entries                                                                                       $0.00

  4.   Other cash equivalents (Identify all)
       4.1 Registry of the District Court, Parker County, Texas                                                                                           $1,286,497.77

  5.   Total of Part 1
                                                                                                                                                          $1,299,061.15
       Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.



 Part 2: Deposits and prepayments


  6.   Does the debtor have any deposits or prepayments?
       ✔ No. Go to Part 3.
       ❑
       ❑Yes. Fill in the information below.
                                                                                                                                              Current value of debtor's
                                                                                                                                              interest
  7.   Deposits, including security deposits and utility deposits
       Description, including name of holder of deposit
       None




Official Form 206A/B                                            Schedule A/B: Assets — Real and Personal Property                                             page 1
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Debtor         O'Connor Construction Group, LLC                                                                         Case number (if known)
              Name


  8.     Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
         Description, including name of holder of prepayment

         None


  9.     Total of Part 2
                                                                                                                                                                     $0.00
         Add lines 7 through 8 (including amounts on any additional sheets). Copy the total to line 81.



 Part 3: Accounts receivable


  10.     Does the debtor have any accounts receivable?
          ❑No. Go to Part 4.
          ✔Yes. Fill in the information below.
          ❑

                                                                                                                                                  Current value of debtor's
                                                                                                                                                  interest

  11.    Accounts Receivable

         11a. 90 days old or less:               $568,441.01                 -                     $0.00                  = ...... ➔                           $568,441.01
                                       face amount                                 doubtful or uncollectible accounts


         11b. Over 90 days old:                 $1,231,184.07                -                  $403,386.02               = ...... ➔                           $827,798.05
                                       face amount                                 doubtful or uncollectible accounts


  12.    Total of Part 3
                                                                                                                                                              $1,396,239.06
          Current value on lines 11a + 11b = line 12. Copy the total to line 82.



 Part 4: Investments


  13.     Does the debtor own any investments?
          ✔ No. Go to Part 5.
          ❑
          ❑Yes. Fill in the information below.

                                                                                                                  Valuation method used for       Current value of debtor's
                                                                                                                  current value                   interest

  14.     Mutual funds or publicly traded stocks not included in Part 1
          Name of fund or stock:

          None


  15.    Non-publicly traded stock and interests in incorporated and unincorporated businesses,
         including any interest in an LLC, partnership, or joint venture
          Name of fund or stock:                                                           % of ownership:

          None


  16.    Government bonds, corporate bonds, and other negotiable and non-negotiable
         instruments not included in Part 1
          Describe:

Official Form 106A/B                                                                  Schedule A/B: Property                                                     page 2
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Debtor        O'Connor Construction Group, LLC                                                                   Case number (if known)
             Name



         None


  17.    Total of Part 4
                                                                                                                                                              $0.00
         Add lines 14 through 16 (including any additional sheets). Copy the total to line 83.



 Part 5: Inventory, excluding agriculture assets


  18.    Does the debtor own any inventory (excluding agriculture assets)?
         ❑No. Go to Part 6.
         ✔Yes. Fill in the information below.
         ❑

         General description                                    Date of the last          Net book value of    Valuation method used       Current value of debtor's
                                                                physical inventory        debtor's interest    for current value           interest
                                                                                          (Where available)


  19.    Raw materials

         None

  20.    Work in progress

         20.1 Fabrication work for pending jobs                       01/28/2022                   (Unknown)    Market Value                            $225,000.00
                                                                    MM / DD / YYYY


  21.    Finished goods, including goods held for resale

         None

  22.    Other inventory or supplies

         22.1 Misc. parts left over from prior jobs.                  01/28/2022                   (Unknown)    Market Value                             $10,000.00
                                                                    MM / DD / YYYY


  23.    Total of Part 5
         Add lines 19 through 22 (including any additional sheets). Copy the total to line 84.                                                          $235,000.00


  24.    Is any of the property listed in Part 5 perishable?
         ✔ No
         ❑
         ❑Yes
  25.    Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
         ✔ No
         ❑
         ❑Yes
  26.    Has any of the property listed in Part 5 been appraised by a professional within the last year?
         ✔ No
         ❑
         ❑Yes


 Part 6: Farming and fishing-related assets (other than titled motor vehicles and land)




Official Form 106A/B                                                               Schedule A/B: Property                                                 page 3
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Debtor        O'Connor Construction Group, LLC                                                                  Case number (if known)
             Name



  27.    Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?
         ✔ No. Go to Part 7.
         ❑
         ❑Yes. Fill in the information below.

         General description                                                          Net book value of       Valuation method used       Current value of debtor's
                                                                                      debtor's interest       for current value           interest
                                                                                          (Where available)


  28.    Crops — either planted or harvested

         None


  29.    Farm animals Examples: Livestock, poultry, farm-raised fish

         None


  30.    Farm machinery and equipment (Other than titled motor vehicles)

         None

  31.    Farm and fishing supplies, chemicals, and feed

         None


  32.    Other farming and fishing-related property not already listed in Part 6

         None

  33.    Total of Part 6
         Add lines 28 through 32. Copy the total to line 85.                                                                                                 $0.00


  34.    Is the debtor a member of an agricultural cooperative?
         ✔ No
         ❑
         ❑Yes. Is any of the debtor's property stored at the cooperative?
            ❑No
            ❑Yes

  35.    Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?
         ✔ No
         ❑
         ❑Yes
  36.    Is a depreciation schedule available for any of the property listed in Part 6?
         ✔ No
         ❑
         ❑Yes
  37.    Has any of the property listed in Part 6 been appraised by a professional within the last year?
         ✔ No
         ❑
         ❑Yes


 Part 7: Office furniture, fixtures, and equipment; and collectibles




Official Form 106A/B                                                           Schedule A/B: Property                                                    page 4
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Debtor        O'Connor Construction Group, LLC                                                                   Case number (if known)
             Name



  38.    Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?
         ❑No. Go to Part 8.
         ✔Yes. Fill in the information below.
         ❑

         General description                                                               Net book value of   Valuation method used       Current value of debtor's
                                                                                           debtor's interest   for current value           interest
                                                                                           (Where available)


  39.    Office furniture

         39.1 Office furniture located at company headquarters                                     (Unknown)    Market Value                             $20,000.00


  40.    Office fixtures

         None


  41.    Office equipment, including all computer equipment and
         communication systems equipment and software

         41.1 Office equipment located at company headquarters                                     (Unknown)    Market Value                             $10,000.00


         Additional Page Total - See continuation page for additional entries                                                                                 $0.00

  42.    Collectibles Examples: Antiques and figurines; paintings, prints or other
         artwork; books, pictures, or other art objects; china and crystal; stamp, coin,
         or baseball card collections; other collections, memorabilia, or collectibles


         None


  43.    Total of Part 7
                                                                                                                                                         $30,000.00
         Add lines 39 through 42. Copy the total to line 86.

  44.    Is a depreciation schedule available for any of the property listed in Part 7?
         ✔ No
         ❑
         ❑Yes
  45.    Has any of the property listed in Part 7 been appraised by a professional within the last year?
         ✔ No
         ❑
         ❑Yes


 Part 8: Machinery, equipment, and vehicles


  46.    Does the debtor own or lease any machinery, equipment, or vehicles?
         ❑No. Go to Part 9.
         ✔Yes. Fill in the information below.
         ❑
         General description                                                               Net book value of   Valuation method used       Current value of debtor's
         Include year, make, model, and identification numbers (i.e., VIN, HIN, or         debtor's interest   for current value           interest
         N-number)                                                                         (Where available)


  47. Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles




Official Form 106A/B                                                               Schedule A/B: Property                                                 page 5
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Debtor        O'Connor Construction Group, LLC                                                                  Case number (if known)
             Name



         47.1 2019 Ford Explorer / VIN: 1FM5K7D8XKGB07149                                         (Unknown)    Market Value                             $36,000.00


              2019 Ford F-250 / VIN: 1FT7W2B62KEC22345 Leased from                                (Unknown)    Market Value                             $40,000.00
         47.2 Ford Motor Credit Company


  48.    Watercraft, trailers, motors, and related accessories Examples: Boats,
         trailers, motors, floating homes, personal watercraft, and fishing vessels


         None


  49. Aircraft and accessories

         None


  50.    Other machinery, fixtures, and equipment (excluding farm machinery
         and equipment)

              2012 Komatsu WA380-7 Front End Loader and                                           (Unknown)    Market Value                             $80,000.00
         50.1 Accessories / VIN: A64058


         Additional Page Total - See continuation page for additional entries                                                                           $73,500.00

  51.    Total of Part 8
                                                                                                                                                       $229,500.00
         Add lines 47 through 50. Copy the total to line 87.

  52.    Is a depreciation schedule available for any of the property listed in Part 8?
         ✔ No
         ❑
         ❑Yes

  53.    Has any of the property listed in Part 8 been appraised by a professional within the last year?
         ✔ No
         ❑
         ❑Yes


 Part 9: Real Property


  54.    Does the debtor own or lease any real property?
         ❑No. Go to Part 10.
         ✔Yes. Fill in the information below.
         ❑

         General description                                    Nature and extent of   Net book value of      Valuation method used       Current value of debtor's
         Include street address or other description such as    debtor's interest in   debtor's interest      for current value           interest
         Assessor Parcel Number (APN), and type of property     property                  (Where available)
         (for example, acreage, factory, warehouse, apartment
         or office building), if available


  55. Any building, other improved real estate, or land which the debtor owns or in which the debtor has interest

              212.451 acre tract located in Wise                Fee Simple                        (Unknown)   Market Value                            $2,627,507.00
              County, Texas.
         55.1 173 CR 3850 Poolville, TX 76487




Official Form 106A/B                                                             Schedule A/B: Property                                                  page 6
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Debtor        O'Connor Construction Group, LLC                                                                        Case number (if known)
             Name



              Office Lease at 4150 International Plaza           Lease                             (Unknown)        Market Value                                   $0.00
              4100 International Plaza Suite 460 Fort
         55.2 Worth, TX 76109



              Office Lease in Omaha, Nebraska                    Lease                             (Unknown)        Market Value                                   $0.00
         55.3 4321 N. 156th Street Omaha, NE 68116


              Mobile Home/Lot Lease at Cedar Knoll               Lease                             (Unknown)        Market Value                                   $0.00
              5535 Dysart Road, Site #73 Waterloo, IA
         55.4 50701



  56.    Total of Part 9
                                                                                                                                                            $2,627,507.00
         Add the current value on lines 55.1 through 55.3 and entries from any addition sheets. Copy the total to line 88.

  57.    Is a depreciation schedule available for any of the property listed in Part 9?
         ✔ No
         ❑
         ❑Yes
  58.    Has any of the property listed in Part 9 been appraised by a professional within the last year?
         ✔ No
         ❑
         ❑Yes


 Part 10: Intangibles and Intellectual Property


  59.    Does the debtor have any interests in intangibles or intellectual property?
         ❑No. Go to Part 11.
         ✔Yes. Fill in the information below.
         ❑

         General description                                                              Net book value of        Valuation method used        Current value of debtor's
                                                                                          debtor's interest        for current value            interest
                                                                                          (Where available)


  60.    Patents, copyrights, trademarks, and trade secrets

         None

  61.    Internet domain names and websites

         61.1 O'Connor Construction Group domain name and website                                  (Unknown)         Market Value                              $2,500.00



  62.    Licenses, franchises, and royalties

         62.1 Software and Other Licensing Agreements                                              (Unknown)         Market Value                              $2,500.00


  63.    Customer lists, mailing lists, or other compilations

         63.1 Customer Lists                                                                       (Unknown)         Market Value                              $5,000.00


  64.    Other intangibles, or intellectual property

         None


Official Form 106A/B                                                              Schedule A/B: Property                                                       page 7
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Debtor        O'Connor Construction Group, LLC                                                                      Case number (if known)
             Name



  65.    Goodwill

         65.1 Goodwill Associated with the Company Name                                        (Unknown)           Market Value                              $5,000.00


  66.    Total of Part 10
                                                                                                                                                            $15,000.00
         Add lines 60 through 65. Copy the total to line 89.

  67.    Do your lists or records include personally identifiable information of customers? (as defined in 11 U.S.C. §§ 101(41A) and 107)
         ✔ No
         ❑
         ❑Yes
  68.    Is there an amortization or other similar schedule available for any of the property listed in Part 10?
         ✔ No
         ❑
         ❑Yes
  69.    Has any of the property listed in Part 10 been appraised by a professional within the last year?
         ✔ No
         ❑
         ❑Yes


 Part 11: All other assets


  70.    Does the debtor own any other assets that have not yet been reported on this form?
         ❑No. Go to Part 12.
         ✔Yes. Fill in the information below.
         ❑

                                                                                                                                              Current value of debtor's
                                                                                                                                              interest

  71.    Notes receivable
         Description (include name of obligor)

         None


  72.    Tax refunds and unused net operating losses (NOLs)
         Description (for example, federal, state, local)

         None


  73.    Interests in insurance policies or annuities

         None


  74.    Causes of action against third parties (whether or not a lawsuit has been filed)

         None


  75.    Other contingent and unliquidated claims or causes of action of every nature,
         including counterclaims of the debtor and rights to set off claims




Official Form 106A/B                                                          Schedule A/B: Property                                                         page 8
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Debtor        O'Connor Construction Group, LLC                                                              Case number (if known)
             Name



              Claims and counterclaims against Green Capital Funding LLC                                                                   (Unknown)
         75.1 including breach of contract.
         Nature of Claim      Breach of Contract
         Amount Requested         (Unknown)



         Additional Page Total - See continuation page for additional entries                                                               $87,512.20

  76.    Trusts, equitable or future interests in property

         None


  77.    Other property of any kind not already listed Examples: Season tickets,
         country club membership

         77.1 Customer contracts for projects in progress.                                                                                 $510,000.00


         Other Property Total - See continuation page for entries                                                                            $5,105.96

  78.    Total of Part 11
                                                                                                                                           $602,618.16
         Add lines 71 through 77. Copy the total to line 90.

  79.    Has any of the property listed in Part 11 been appraised by a professional within the last year?
         ✔ No
         ❑
         ❑Yes




Official Form 106A/B                                                            Schedule A/B: Property                                      page 9
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Debtor         O'Connor Construction Group, LLC                                                                                                  Case number (if known)
              Name



 Part 12: Summary


         Type of property                                                                            Current value of                                Current value
                                                                                                     personal property                               of real property


  80. Cash, cash equivalents, and financial assets. Copy line 5, Part 1.                                              $1,299,061.15

  81. Deposits and prepayments. Copy line 9, Part 2.                                                                         $0.00

  82. Accounts receivable. Copy line 12, Part 3.                                                                      $1,396,239.06

  83. Investments. Copy line 17, Part 4.                                                                                     $0.00

  84. Inventory. Copy line 23, Part 5.                                                                                 $235,000.00

  85. Farming and fishing-related assets. Copy line 33, Part 6.                                                              $0.00

  86. Office furniture, fixtures, and equipment; collectibles. Copy line
      43, Part 7.                                                                                                       $30,000.00

  87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                        $229,500.00


                                                                                                                                          ➔                       $2,627,507.00
  88. Real property. Copy line 56, Part 9..........................................................................

  89. Intangibles and intellectual property. Copy line 66, Part 10.                                                     $15,000.00

  90. All other assets. Copy line 78, Part 11.                                                  +                      $602,618.16



  91. Total. Add lines 80 through 90 for each column......                                  91a.                      $3,807,418.37     + 91b.                    $2,627,507.00



                                                                                                                                                                                     $6,434,925.37
  92. Total of all property on Schedule A/B. Lines 91a + 91b = 92 .................................................................................................




Official Form 206A/B                                                            Schedule A/B: Assets — Real and Personal Property                                                   page 10
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Debtor        O'Connor Construction Group, LLC                                                                   Case number (if known)
              Name



           Additional Page


         All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of debtor's
                                                                                                                                          interest

  3.     Checking, savings, money market, or financial brokerage accounts - Continued
         Name of institution (bank or brokerage firm)               Type of account                   Last 4 digits of account number
         3.2 First Financial Bank                                         Checking account                        0036                                      $0.00

         3.3 Citizens Bank of Texas                                       Checking account                        2301                                      $0.00

         3.4 First Financial Bank                                         Savings account                         0201                                      $0.00


         General description                                                           Net book value of      Valuation method used       Current value of debtor's
                                                                                       debtor's interest      for current value           interest
                                                                                       (Where available)

  41. Office equipment - Continued
         41.2 Phone System Leased from IntegraCom, Inc.                                         (Unknown)       Market Value                                 $0.00

         41.3 HP Printers Leased from ImageNet Consulting                                       (Unknown)       Market Value                                 $0.00

         General description                                                           Net book value of      Valuation method used       Current value of debtor's
         Include year, make, model, and identification numbers (i.e., VIN, HIN, or     debtor's interest      for current value           interest
         N-number)                                                                     (Where available)

  50. Other machinery, fixtures, and equipment - Continued
              Caterpillar Track Type Tractor / VIN: PER00989 Leased from
         50.2 Caterpillar Financial Services Corporation                                        (Unknown)       Market Value                                 $0.00

              Caterpillar Hydraulic Excavator / VIN: NAZ01207 Leased from
         50.3 Caterpillar Financial Services Corporation                                        (Unknown)       Market Value                                 $0.00

         50.4 2011 DC Trailer / VIN: 53NBE121XB1001020                                          (Unknown)       Market Value                             $2,500.00

              2012 Genie GTH-844 Forklift Variable Reach / VIN:
         50.5 GTH0812-15416                                                                     (Unknown)       Market Value                            $40,000.00

              2019 Continental Cargo Utility Trailer / VIN:
         50.6 5NHUVHV29KY034743                                                                 (Unknown)       Market Value                             $7,500.00

         50.7 2012 Tiger Trailer / VIN: VN 5UTBU2024CM000395                                    (Unknown)       Market Value                             $2,750.00

         50.8 2012 Tiger Flatbed Trailer / VIN: 5UTBU1827CM002124                               (Unknown)       Market Value                             $2,750.00

         50.9 2015 Utility Trailer / VIN: 542BE3228FB009752                                     (Unknown)       Market Value                             $3,000.00

         50.10 Untitled Construction Equipment                                                  (Unknown)       Market Value                            $15,000.00

         General description                                    Nature and extent of   Net book value of      Valuation method used       Current value of debtor's
         Include street address or other description such as    debtor's interest in   debtor's interest      for current value           interest
         Assessor Parcel Number (APN), and type of property     property               (Where available)
         (for example, acreage, factory, warehouse, apartment
         or office building), if available

  55. Any building, other improved real estate, or land which the debtor owns or in which the debtor has interest - Continued
               Mobile Home/Lot Lease at Cedar Knoll
              5535 Dysart Road, Site #73 Waterloo, IA
         55.4 50701                                             Lease                          (Unknown)       Market Value                                  $0.00


                                                                                                                                          Current value of debtor's
                                                                                                                                          interest




Official Form 106A/B                                                             Schedule A/B: Property                                                 page 11
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Debtor       O'Connor Construction Group, LLC                                                       Case number (if known)
            Name



          Additional Page


  75.    Other contingent and unliquidated claims or causes of action of every nature,
         including counterclaims of the debtor and rights to set off claims - Continued

              Claims against H.W. Tucker for conversion of materials stored                                                        (Unknown)
         75.2 by Debtor on H.W. Tucker property.
         Nature of Claim    Claim for damages arising from conversion
         Amount Requested       (Unknown)



              Claims against Lineage Logistics, LLC arising from exercise of                                                       (Unknown)
         75.3 prejudgment garnishment remedy on September 22, 2021.

         Nature of Claim
         Amount Requested       (Unknown)




         75.4 Receivable due from KB Phoenix Division One, LLC                                                                      $87,512.20
         Nature of Claim    Open Line of Credit
         Amount Requested       $87,512.20



  77.    Other property of any kind not already listed - Continued

         77.2 Refund of Garner Retainer Fee on Hand                                                                                  $5,000.00


         77.3 Checks from Ally Financial (2)                                                                                             $105.96




Official Form 106A/B                                                       Schedule A/B: Property                                   page 12
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 Fill in this information to identify the case:

 Debtor name                         O'Connor Construction Group, LLC

 United States Bankruptcy Court for the:
                                   Northern District of Texas


 Case number (if known):                                                                                                                     ❑Check if this is an
                                                                                                                                                 amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                                 12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
      ❑No. Check this box and submit page 1 of this form to the court with debtor’s other schedules. Debtor has nothing else to report on this form.
      ✔Yes. Fill in all of the information below.
      ❑
 Part 1: List Creditors Who Have Secured Claims

 2.     List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured claim,      Column A                   Column B
        list the creditor separately for each claim.
                                                                                                                              Amount of claim            Value of collateral
                                                                                                                              Do not deduct the          that supports this
                                                                                                                              value of collateral.       claim

2.1 Creditor’s name                                             Describe debtor’s property that is subject to a lien                 $1,956,218.76                $2,627,507.00
    AgTexas FLCA                                                212.451 acre tract located in Wise County, Texas.
                                                                173 CR 3850 Poolville, TX 76487
        Creditor's mailing address
                                                                Describe the lien
        117 S Burleson Blvd                                     Deed of Trust Lien
        Burleson, TX 76028-4301                                 Is the creditor an insider or related party?
        Creditor's email address, if known                      ❑✔ No
                                                                ❑Yes.
        Date debt was incurred        01/17/2020                Is anyone else liable on this claim?
                                                                ❑No
                                                                 ✔Yes. Fill out Schedule H: Codebtors (Official Form 206H).
        Last 4 digits of account
        number                         7   3      7   0         ❑
        Do multiple creditors have an interest in the same As of the petition filing date, the claim is:
        property?                                             Check all that apply.
        ❑No.                                                  ❑Contingent
        ✔Yes. Specify each creditor, including this creditor, ❑Unliquidated
        ❑
               and its relative priority.
                                                              ❑Disputed
                 1) AgTexas FLCA
                 2) Wise County Appraisal District
                 3) Parker County Appraisal District


 3.     Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional
        Page, if any.                                                                                                                $5,024,984.40




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Debtor      O'Connor Construction Group, LLC                                                                         Case number (if known)
           Name

                                                                                                                            Column A                Column B
 Part 1: Additional Page
                                                                                                                            Amount of claim         Value of collateral
 Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous                   Do not deduct the       that supports this
 page.                                                                                                                      value of collateral.    claim

2.2 Creditor’s name                                           Describe debtor’s property that is subject to a lien                    $144,230.11          $1,286,497.77
    Beacon Sales Acquisitions, LLC                            Registry of the District Court, Parker County, Texas
                                                              Describe the lien
     Creditor's mailing address
                                                              Post-Judgment Garnishment
      Po Box 840567
                                                              Is the creditor an insider or related party?
      Dallas, TX 75284-0567                                   ❑✔ No
     Creditor's email address, if known                       ❑Yes.
     William.Romanelli@Becn.com
                                                              Is anyone else liable on this claim?
     Date debt was incurred                                   ❑✔ No
     Last 4 digits of account                                 ❑Yes. Fill out Schedule H: Codebtors (Official Form 206H).
     number                                             As of the petition filing date, the claim is:
     Do multiple creditors have an interest in the same Check all that apply.
     property?                                          ✔ Contingent
                                                        ❑
     ❑No.                                               ✔ Unliquidated
                                                        ❑
     ✔Yes. Have you already specified the relative      ✔ Disputed
                                                        ❑
     ❑
            priority?
          ✔ No. Specify each creditor, including this
          ❑
                  creditor, and its relative priority.
                  1) Lineage Logistics, LLC
                  2) Beacon Sales Acquisitions, LLC

          ❑Yes. The relative priority of creditors is
                  specified on lines




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Debtor      O'Connor Construction Group, LLC                                                                         Case number (if known)
           Name

                                                                                                                            Column A               Column B
 Part 1: Additional Page
                                                                                                                            Amount of claim        Value of collateral
 Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous                   Do not deduct the      that supports this
 page.                                                                                                                      value of collateral.   claim

2.3 Creditor’s name                                           Describe debtor’s property that is subject to a lien                   $603,986.00          $2,273,751.26
    Breakout Capital, LLC                                     Accounts Receivable
                                                              Misc. parts left over from prior jobs.
     Creditor's mailing address                               Fabrication work for pending jobs
      1451 Dolley Madison Blvd Suite 200                      Office furniture located at company headquarters
      Mc Lean, VA 22101                                       Retainage on Current Projects

     Creditor's email address, if known                       See continuation page.
     kahmad@breakoutfinance.com
                                                              Describe the lien
                                                              UCC-1 Financing Statement
     Date debt was incurred
                                                              Is the creditor an insider or related party?
     Last 4 digits of account
     number
                                                              ❑✔ No
                                                        ❑Yes.
     Do multiple creditors have an interest in the same
     property?                                          Is anyone else liable on this claim?
     ❑No.                                               ❑No
                                                        ❑✔Yes. Fill out Schedule H: Codebtors (Official Form 206H).
     ✔Yes. Have you already specified the relative
     ❑
            priority?                                   As of the petition filing date, the claim is:
                                                        Check all that apply.
         For Asset:                                     ❑✔ Contingent
         Accounts Receivable                            ❑✔ Unliquidated
         ✔ No. Specify each creditor, including this
         ❑                                              ❑✔ Disputed
                creditor, and its relative priority.
                  1) Small Business Administration
                  2) Breakout Capital, LLC
                  3) CIT Bank, N.A.
                  4) Union Funding Source, Inc
          ❑Yes. The relative priority of creditors is
                  specified on lines


         For Asset:
         Misc. parts left over from prior jobs.
          ✔ No. Specify each creditor, including this
          ❑
                  creditor, and its relative priority.
                  1) Small Business Administration
                  2) Breakout Capital, LLC
                  3) CIT Bank, N.A.
                  4) Union Funding Source, Inc
          ❑Yes. The relative priority of creditors is
                  specified on lines


         For Asset:
         Fabrication work for pending jobs
          ✔ No. Specify each creditor, including this
          ❑
                  creditor, and its relative priority.
                  1) Small Business Administration
                  2) Breakout Capital, LLC
                  3) CIT Bank, N.A.



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Debtor      O'Connor Construction Group, LLC                                                                  Case number (if known)
           Name

                                                                                                                     Column A               Column B
 Part 1: Additional Page
                                                                                                                     Amount of claim        Value of collateral
 Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous            Do not deduct the      that supports this
 page.                                                                                                               value of collateral.   claim
                  4) Union Funding Source, Inc
          ❑Yes. The relative priority of creditors is
                  specified on lines


         For Asset:
         Office furniture located at company
         headquarters
          ✔ No. Specify each creditor, including this
          ❑
                  creditor, and its relative priority.
                  1) Small Business Administration
                  2) Breakout Capital, LLC
                  3) CIT Bank, N.A.
                  4) Union Funding Source, Inc
          ❑Yes. The relative priority of creditors is
                  specified on lines


         For Asset:
         Retainage on Current Projects
          ✔ No. Specify each creditor, including this
          ❑
                  creditor, and its relative priority.
                  1) Small Business Administration
                  2) Breakout Capital, LLC
                  3) CIT Bank, N.A.
                  4) Union Funding Source, Inc
          ❑Yes. The relative priority of creditors is
                  specified on lines


         For Asset:
         Office equipment located at company
         headquarters
          ✔ No. Specify each creditor, including this
          ❑
                  creditor, and its relative priority.
                  1) Small Business Administration
                  2) Breakout Capital, LLC
                  3) CIT Bank, N.A.
                  4) Union Funding Source, Inc
          ❑Yes. The relative priority of creditors is
                  specified on lines


         For Asset:
         Accounts Receivable
          ✔ No. Specify each creditor, including this
          ❑
                  creditor, and its relative priority.
                  1) Small Business Administration
                  2) Breakout Capital, LLC
                  3) CIT Bank, N.A.



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Debtor      O'Connor Construction Group, LLC                                                                  Case number (if known)
           Name

                                                                                                                     Column A               Column B
 Part 1: Additional Page
                                                                                                                     Amount of claim        Value of collateral
 Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous            Do not deduct the      that supports this
 page.                                                                                                               value of collateral.   claim
                  4) Union Funding Source, Inc
          ❑Yes. The relative priority of creditors is
                  specified on lines


         For Asset:
         Untitled Construction Equipment
          ✔ No. Specify each creditor, including this
          ❑
                  creditor, and its relative priority.
                  1) Small Business Administration
                  2) Breakout Capital, LLC
                  3) CIT Bank, N.A.
                  4) Union Funding Source, Inc
          ❑Yes. The relative priority of creditors is
                  specified on lines


         For Asset:
         Customer contracts for projects in progress.
          ✔ No. Specify each creditor, including this
          ❑
                  creditor, and its relative priority.


                  1) Small Business Administration
                  2) Breakout Capital, LLC
                  3) CIT Bank, N.A.
                  4) Union Funding Source, Inc
          ❑Yes. The relative priority of creditors is
                  specified on lines


         For Asset:
         Receivable due from KB Phoenix Division
         One, LLC
          ✔ No. Specify each creditor, including this
          ❑
                  creditor, and its relative priority.
                  1) Small Business Administration
                  2) Breakout Capital, LLC
                  3) CIT Bank, N.A.
                  4) Union Funding Source, Inc
          ❑Yes. The relative priority of creditors is
                  specified on lines




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Debtor      O'Connor Construction Group, LLC                                                                         Case number (if known)
           Name

                                                                                                                            Column A                Column B
 Part 1: Additional Page
                                                                                                                            Amount of claim         Value of collateral
 Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous                   Do not deduct the       that supports this
 page.                                                                                                                      value of collateral.    claim

2.4 Creditor’s name                                           Describe debtor’s property that is subject to a lien                     $85,975.69          $2,353,751.26
    CIT Bank, N.A.                                            Accounts Receivable
                                                              Misc. parts left over from prior jobs.
     Creditor's mailing address                               Fabrication work for pending jobs
      155 Commerce Way                                        Office furniture located at company headquarters
      Portsmouth, NH 03801                                    2012 Komatsu WA380-7 Front End Loader and
                                                              Accessories
     Creditor's email address, if known
                                                              See continuation page.

                                                              Describe the lien
     Date debt was incurred
                                                              UCC-1 Financing Statement
     Last 4 digits of account
                                                              Is the creditor an insider or related party?
     number
                                                              ❑✔ No
     Do multiple creditors have an interest in the same       ❑Yes.
     property?
     ❑No.                                                     Is anyone else liable on this claim?
                                                              ❑No
     ✔Yes. Have you already specified the relative
     ❑                                                        ❑✔Yes. Fill out Schedule H: Codebtors (Official Form 206H).
             priority?
                                                              As of the petition filing date, the claim is:
         For Asset:                                           Check all that apply.
         Accounts Receivable                                  ❑Contingent
          ❑No. Specify each creditor, including this          ❑Unliquidated
                  creditor, and its relative priority.        ❑Disputed
          ✔Yes. The relative priority of creditors is
          ❑
                  specified on lines        2.3


         For Asset:
         Misc. parts left over from prior jobs.
          ❑No. Specify each creditor, including this
                  creditor, and its relative priority.
          ✔Yes. The relative priority of creditors is
          ❑
                  specified on lines        2.3


         For Asset:
         Fabrication work for pending jobs
          ❑No. Specify each creditor, including this
                  creditor, and its relative priority.
          ✔Yes. The relative priority of creditors is
          ❑
                  specified on lines        2.3


         For Asset:
         Office furniture located at company
         headquarters
          ❑No. Specify each creditor, including this
                  creditor, and its relative priority.
          ✔Yes. The relative priority of creditors is
          ❑
                  specified on lines        2.3




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Debtor      O'Connor Construction Group, LLC                                                                  Case number (if known)
           Name

                                                                                                                     Column A               Column B
 Part 1: Additional Page
                                                                                                                     Amount of claim        Value of collateral
 Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous            Do not deduct the      that supports this
 page.                                                                                                               value of collateral.   claim

         For Asset:
         2012 Komatsu WA380-7 Front End Loader and
         Accessories
          ✔ No. Specify each creditor, including this
          ❑
                  creditor, and its relative priority.
          ❑Yes. The relative priority of creditors is
                  specified on lines


         For Asset:
         Retainage on Current Projects
          ❑No. Specify each creditor, including this
                  creditor, and its relative priority.
          ✔Yes. The relative priority of creditors is
          ❑
                  specified on lines        2.3


         For Asset:
         Office equipment located at company
         headquarters
          ❑No. Specify each creditor, including this
                  creditor, and its relative priority.
          ✔Yes. The relative priority of creditors is
          ❑
                  specified on lines        2.3


         For Asset:
         Accounts Receivable
          ❑No. Specify each creditor, including this
                  creditor, and its relative priority.
          ✔Yes. The relative priority of creditors is
          ❑
                  specified on lines        2.3


         For Asset:
         Untitled Construction Equipment
          ❑No. Specify each creditor, including this
                  creditor, and its relative priority.
          ✔Yes. The relative priority of creditors is
          ❑
                  specified on lines        2.3


         For Asset:
         Customer contracts for projects in progress.
          ❑No. Specify each creditor, including this
                  creditor, and its relative priority.

          ✔Yes. The relative priority of creditors is
          ❑
                  specified on lines        2.3


         For Asset:
         Receivable due from KB Phoenix Division
         One, LLC
          ❑No. Specify each creditor, including this
                  creditor, and its relative priority.




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Debtor      O'Connor Construction Group, LLC                                                                      Case number (if known)
           Name

                                                                                                                         Column A                Column B
 Part 1: Additional Page
                                                                                                                         Amount of claim         Value of collateral
 Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous                Do not deduct the       that supports this
 page.                                                                                                                   value of collateral.    claim
          ✔Yes. The relative priority of creditors is
          ❑
                  specified on lines     2.3



2.5 Creditor’s name                                        Describe debtor’s property that is subject to a lien                     $30,003.84              $40,000.00
    First Financial Bank, N.A.                             2012 Genie GTH-844 Forklift Variable Reach

                                                           Describe the lien
     Creditor's mailing address
      College Park Office
                                                           Is the creditor an insider or related party?
      101 College Park Drive
                                                           ❑✔ No
                                                           ❑Yes.
      Weatherford, TX 76086-6211

     Creditor's email address, if known
                                                           Is anyone else liable on this claim?
                                                           ❑✔ No
     Date debt was incurred                                ❑Yes. Fill out Schedule H: Codebtors (Official Form 206H).
     Last 4 digits of account                           As of the petition filing date, the claim is:
     number                                             Check all that apply.
                                                        ❑Contingent
     Do multiple creditors have an interest in the same ❑Unliquidated
     property?                                          ❑Disputed
     ✔ No.
     ❑
     ❑Yes. Have you already specified the relative
             priority?



2.6 Creditor’s name                                        Describe debtor’s property that is subject to a lien                     $35,013.10              $36,000.00
    Ford Motor Credit Company LLC                          2019 Ford Explorer

                                                           Describe the lien
     Creditor's mailing address
                                                           Certificate of Title
      PO Box 650574
                                                           Is the creditor an insider or related party?
      Dallas, TX 75265-0574
                                                           ❑✔ No
     Creditor's email address, if known                    ❑Yes.
                                                           Is anyone else liable on this claim?
     Date debt was incurred                                ❑✔ No
                                                           ❑Yes. Fill out Schedule H: Codebtors (Official Form 206H).
     Last 4 digits of account
     number                                             As of the petition filing date, the claim is:
                                                        Check all that apply.
     Do multiple creditors have an interest in the same ❑Contingent
     property?
                                                        ❑Unliquidated
     ✔ No.
     ❑                                                  ❑Disputed
     ❑Yes. Have you already specified the relative
             priority?




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Debtor      O'Connor Construction Group, LLC                                                                         Case number (if known)
           Name

                                                                                                                            Column A                Column B
 Part 1: Additional Page
                                                                                                                            Amount of claim         Value of collateral
 Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous                   Do not deduct the       that supports this
 page.                                                                                                                      value of collateral.    claim

2.7 Creditor’s name                                           Describe debtor’s property that is subject to a lien                 $1,520,353.19           $1,286,497.77
    Lineage Logistics, LLC                                    Registry of the District Court, Parker County, Texas

                                                              Describe the lien
     Creditor's mailing address
                                                              Prejudgment Garnishment
      c/o Robin Harrison
      Hicks Thomas LLP                                        Is the creditor an insider or related party?
      700 Louisiana Suite 2300                                ❑✔ No
      Houston, TX 77002                                       ❑Yes.
                                                              Is anyone else liable on this claim?
     Creditor's email address, if known
                                                              ❑✔ No
                                                              ❑Yes. Fill out Schedule H: Codebtors (Official Form 206H).
     Date debt was incurred
                                                        As of the petition filing date, the claim is:
                                                        Check all that apply.
                                                        ✔ Contingent
     Last 4 digits of account
     number                                             ❑
                                                        ✔ Unliquidated
                                                        ❑
                                                        ✔ Disputed
     Do multiple creditors have an interest in the same ❑
     property?
     ❑No.
     ✔Yes. Have you already specified the relative
     ❑
             priority?

          ❑No. Specify each creditor, including this
                  creditor, and its relative priority.
          ✔Yes. The relative priority of creditors is
          ❑
                  specified on lines        2.2



2.8 Creditor’s name                                           Describe debtor’s property that is subject to a lien                      $3,860.78          $2,627,507.00
    Parker County Appraisal District                          212.451 acre tract located in Wise County, Texas.
                                                              173 CR 3850 Poolville, TX 76487
     Creditor's mailing address
                                                              Describe the lien
      1108 Santa Fe Dr                                        Statutory Property Tax Lien
      Weatherford, TX 76086-5818
                                                              Is the creditor an insider or related party?
     Creditor's email address, if known                       ❑✔ No
                                                              ❑Yes.
     Date debt was incurred                                   Is anyone else liable on this claim?
                                                              ❑✔ No
     Last 4 digits of account                                 ❑Yes. Fill out Schedule H: Codebtors (Official Form 206H).
     number
                                                        As of the petition filing date, the claim is:
     Do multiple creditors have an interest in the same Check all that apply.
     property?                                          ❑Contingent
     ❑No.                                               ❑Unliquidated
     ✔Yes. Have you already specified the relative
     ❑                                                  ❑Disputed
            priority?

          ❑No. Specify each creditor, including this
                  creditor, and its relative priority.
          ✔Yes. The relative priority of creditors is
          ❑
                  specified on lines        2.1




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Debtor      O'Connor Construction Group, LLC                                                                         Case number (if known)
           Name

                                                                                                                            Column A               Column B
 Part 1: Additional Page
                                                                                                                            Amount of claim        Value of collateral
 Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous                   Do not deduct the      that supports this
 page.                                                                                                                      value of collateral.   claim



2.9 Creditor’s name                                           Describe debtor’s property that is subject to a lien                   $500,000.00          $2,273,751.26
    Small Business Administration                             Accounts Receivable
                                                              Misc. parts left over from prior jobs.
     Creditor's mailing address                               Fabrication work for pending jobs
      4300 Amon Carter Blvd. Suite 114                        Office furniture located at company headquarters
      Fort Worth, TX 76155                                    Retainage on Current Projects

     Creditor's email address, if known                       See continuation page.

                                                              Describe the lien
                                                              UCC-1 Financing Statement
     Date debt was incurred
                                                              Is the creditor an insider or related party?
     Last 4 digits of account
                                                              ❑✔ No
     number
                                                        ❑Yes.
     Do multiple creditors have an interest in the same
     property?                                          Is anyone else liable on this claim?
     ❑No.                                               ❑✔ No
                                                        ❑Yes. Fill out Schedule H: Codebtors (Official Form 206H).
     ✔Yes. Have you already specified the relative
     ❑
            priority?                                   As of the petition filing date, the claim is:
                                                        Check all that apply.
         For Asset:                                     ❑Contingent
         Accounts Receivable                            ❑Unliquidated
         ❑No. Specify each creditor, including this     ❑Disputed
                creditor, and its relative priority.
          ✔Yes. The relative priority of creditors is
          ❑
                  specified on lines        2.3


         For Asset:
         Misc. parts left over from prior jobs.
          ❑No. Specify each creditor, including this
                  creditor, and its relative priority.
          ✔Yes. The relative priority of creditors is
          ❑
                  specified on lines        2.3


         For Asset:
         Fabrication work for pending jobs
          ❑No. Specify each creditor, including this
                  creditor, and its relative priority.
          ✔Yes. The relative priority of creditors is
          ❑
                  specified on lines        2.3


         For Asset:
         Office furniture located at company
         headquarters
          ❑No. Specify each creditor, including this
                  creditor, and its relative priority.
          ✔Yes. The relative priority of creditors is
          ❑
                  specified on lines        2.3




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Debtor      O'Connor Construction Group, LLC                                                                  Case number (if known)
           Name

                                                                                                                     Column A               Column B
 Part 1: Additional Page
                                                                                                                     Amount of claim        Value of collateral
 Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous            Do not deduct the      that supports this
 page.                                                                                                               value of collateral.   claim

         For Asset:
         Retainage on Current Projects
          ❑No. Specify each creditor, including this
                  creditor, and its relative priority.
          ✔Yes. The relative priority of creditors is
          ❑
                  specified on lines        2.3


         For Asset:
         Office equipment located at company
         headquarters
          ❑No. Specify each creditor, including this
                  creditor, and its relative priority.
          ✔Yes. The relative priority of creditors is
          ❑
                  specified on lines        2.3


         For Asset:
         Accounts Receivable
          ❑No. Specify each creditor, including this
                  creditor, and its relative priority.
          ✔Yes. The relative priority of creditors is
          ❑
                  specified on lines        2.3


         For Asset:
         Untitled Construction Equipment
          ❑No. Specify each creditor, including this
                  creditor, and its relative priority.
          ✔Yes. The relative priority of creditors is
          ❑
                  specified on lines        2.3


         For Asset:
         Customer contracts for projects in progress.
          ❑No. Specify each creditor, including this
                  creditor, and its relative priority.

          ✔Yes. The relative priority of creditors is
          ❑
                  specified on lines        2.3


         For Asset:
         Receivable due from KB Phoenix Division
         One, LLC
          ❑No. Specify each creditor, including this
                  creditor, and its relative priority.
          ✔Yes. The relative priority of creditors is
          ❑
                  specified on lines        2.3




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Debtor       O'Connor Construction Group, LLC                                                                        Case number (if known)
             Name

                                                                                                                            Column A                 Column B
 Part 1: Additional Page
                                                                                                                            Amount of claim          Value of collateral
 Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous                   Do not deduct the        that supports this
 page.                                                                                                                      value of collateral.     claim

2.10 Creditor’s name                                              Describe debtor’s property that is subject to a lien                 $123,826.55          $2,273,751.26
     Union Funding Source, Inc                                    Accounts Receivable
                                                                  Misc. parts left over from prior jobs.
         Creditor's mailing address                               Fabrication work for pending jobs
         1835 E Hallandale Beach Blvd # 278                       Office furniture located at company headquarters
         Hallandle Bch, FL 33009-4619                             Retainage on Current Projects

         Creditor's email address, if known                       See continuation page.
         alice@unionfundingsource.com
                                                                  Describe the lien
                                                                  UCC-1 Financing Statement
         Date debt was incurred
                                                                  Is the creditor an insider or related party?
         Last 4 digits of account
         number
                                                                  ❑✔ No
                                                            ❑Yes.
         Do multiple creditors have an interest in the same
         property?                                          Is anyone else liable on this claim?
         ❑No.                                               ❑No
                                                            ❑✔Yes. Fill out Schedule H: Codebtors (Official Form 206H).
         ✔Yes. Have you already specified the relative
         ❑
                priority?                                   As of the petition filing date, the claim is:
                                                            Check all that apply.
             For Asset:                                     ❑✔ Contingent
             Accounts Receivable                            ❑✔ Unliquidated
             ❑No. Specify each creditor, including this     ❑✔ Disputed
                    creditor, and its relative priority.
             ✔Yes. The relative priority of creditors is
             ❑
                     specified on lines        2.3


             For Asset:
             Misc. parts left over from prior jobs.
             ❑No. Specify each creditor, including this
                     creditor, and its relative priority.
             ✔Yes. The relative priority of creditors is
             ❑
                     specified on lines        2.3


             For Asset:
             Fabrication work for pending jobs
             ❑No. Specify each creditor, including this
                     creditor, and its relative priority.
             ✔Yes. The relative priority of creditors is
             ❑
                     specified on lines        2.3


             For Asset:
             Office furniture located at company
             headquarters
             ❑No. Specify each creditor, including this
                     creditor, and its relative priority.
             ✔Yes. The relative priority of creditors is
             ❑
                     specified on lines        2.3




Official Form 206D                                   Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                             page 12 of 17
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Debtor     O'Connor Construction Group, LLC                                                                      Case number (if known)
           Name

                                                                                                                        Column A               Column B
 Part 1: Additional Page
                                                                                                                        Amount of claim        Value of collateral
 Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous               Do not deduct the      that supports this
 page.                                                                                                                  value of collateral.   claim

           For Asset:
           Retainage on Current Projects
           ❑No. Specify each creditor, including this
                     creditor, and its relative priority.
           ✔Yes. The relative priority of creditors is
           ❑
                     specified on lines        2.3


           For Asset:
           Office equipment located at company
           headquarters
           ❑No. Specify each creditor, including this
                     creditor, and its relative priority.
           ✔Yes. The relative priority of creditors is
           ❑
                     specified on lines        2.3


           For Asset:
           Accounts Receivable
           ❑No. Specify each creditor, including this
                     creditor, and its relative priority.
           ✔Yes. The relative priority of creditors is
           ❑
                     specified on lines        2.3


           For Asset:
           Untitled Construction Equipment
           ❑No. Specify each creditor, including this
                     creditor, and its relative priority.
           ✔Yes. The relative priority of creditors is
           ❑
                     specified on lines        2.3


           For Asset:
           Customer contracts for projects in progress.
           ❑No. Specify each creditor, including this
                     creditor, and its relative priority.

           ✔Yes. The relative priority of creditors is
           ❑
                     specified on lines        2.3


           For Asset:
           Receivable due from KB Phoenix Division
           One, LLC
           ❑No. Specify each creditor, including this
                     creditor, and its relative priority.
           ✔Yes. The relative priority of creditors is
           ❑
                     specified on lines        2.3




Official Form 206D                                   Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                       page 13 of 17
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Debtor        O'Connor Construction Group, LLC                                                                        Case number (if known)
             Name

                                                                                                                             Column A                 Column B
 Part 1: Additional Page
                                                                                                                             Amount of claim          Value of collateral
 Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous                    Do not deduct the        that supports this
 page.                                                                                                                       value of collateral.     claim

2.11     Creditor’s name                                          Describe debtor’s property that is subject to a lien                   $21,516.38          $2,627,507.00
         Wise County Appraisal District                           212.451 acre tract located in Wise County, Texas.
                                                                  173 CR 3850 Poolville, TX 76487
         Creditor's mailing address
                                                                  Describe the lien
         400 E Business 380                                       Statutory Property Tax Lien
         Decatur, TX 76234-3165
                                                                  Is the creditor an insider or related party?
         Creditor's email address, if known                       ❑✔ No
                                                                  ❑Yes.
         Date debt was incurred                                   Is anyone else liable on this claim?
                                                                  ❑✔ No
         Last 4 digits of account                                 ❑Yes. Fill out Schedule H: Codebtors (Official Form 206H).
         number
                                                            As of the petition filing date, the claim is:
         Do multiple creditors have an interest in the same Check all that apply.
         property?                                          ❑Contingent
         ❑No.                                               ❑Unliquidated
         ✔Yes. Have you already specified the relative
         ❑                                                  ❑Disputed
                priority?

             ❑No. Specify each creditor, including this
                     creditor, and its relative priority.
             ✔Yes. The relative priority of creditors is
             ❑
                     specified on lines        2.1




Official Form 206D                                   Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                              page 14 of 17
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Debtor      O'Connor Construction Group, LLC                                                                    Case number (if known)
           Name
 Part 2: List Others to Be Notified for a Debt Already Listed in Part 1

 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.
 If no others need to be notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.

     Name and address                                                                                         On which line in Part 1      Last 4 digits of
                                                                                                              did you enter the related    account number for
                                                                                                              creditor?                    this entity


                                                                                                              Line




Official Form 206D                            Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                 page 15 of 17
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Debtor        O'Connor Construction Group, LLC                                                                 Case number (if known)
             Name

 Part 1: Additional Page

 2.

2.1      Creditor’s name                                Describe debtor’s property that is subject to a lien
         AgTexas FLCA

2.2      Creditor’s name                                Describe debtor’s property that is subject to a lien
         Beacon Sales Acquisitions, LLC

2.3      Creditor’s name                                Describe debtor’s property that is subject to a lien
         Breakout Capital, LLC                          Office equipment located at company headquarters

                                                        Accounts Receivable

                                                        Untitled Construction Equipment

                                                        Customer contracts for projects in progress.

                                                        Receivable due from KB Phoenix Division One, LLC

2.4      Creditor’s name                                Describe debtor’s property that is subject to a lien
         CIT Bank, N.A.                                 Retainage on Current Projects

                                                        Office equipment located at company headquarters

                                                        Accounts Receivable

                                                        Untitled Construction Equipment

                                                        Customer contracts for projects in progress.

                                                        Receivable due from KB Phoenix Division One, LLC

2.5      Creditor’s name                                Describe debtor’s property that is subject to a lien
         First Financial Bank, N.A.

2.6      Creditor’s name                                Describe debtor’s property that is subject to a lien
         Ford Motor Credit Company LLC

2.7      Creditor’s name                                Describe debtor’s property that is subject to a lien
         Lineage Logistics, LLC

2.8      Creditor’s name                                Describe debtor’s property that is subject to a lien
         Parker County Appraisal District

2.9      Creditor’s name                                Describe debtor’s property that is subject to a lien
         Small Business Administration                  Office equipment located at company headquarters

                                                        Accounts Receivable

                                                        Untitled Construction Equipment

                                                        Customer contracts for projects in progress.

                                                        Receivable due from KB Phoenix Division One, LLC

2.10 Creditor’s name                                    Describe debtor’s property that is subject to a lien
     Union Funding Source, Inc                          Office equipment located at company headquarters




Official Form 206D                          Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                       page 16 of 17
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Debtor       O'Connor Construction Group, LLC                                                              Case number (if known)
             Name

 Part 1: Additional Page

                                                        Accounts Receivable

                                                        Untitled Construction Equipment

                                                        Customer contracts for projects in progress.

                                                        Receivable due from KB Phoenix Division One, LLC


2.11     Creditor’s name                                Describe debtor’s property that is subject to a lien
         Wise County Appraisal District




Official Form 206D                         Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                    page 17 of 17
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 Fill in this information to identify the case:

 Debtor name                         O'Connor Construction Group, LLC

 United States Bankruptcy Court for the:
                                   Northern District of Texas


 Case number (if known):                                                                                                                  ❑Check if this is an
                                                                                                                                             amended filing

Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                      12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases(Official Form 206G). Number the entries in Parts 1 and 2
in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1: List All Creditors with PRIORITY Unsecured Claims

  1.    Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507)
        ❑No. Go to Part 2.
        ✔Yes. Go to line 2.
        ❑
 2.    List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors with
       priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                    Total claim                    Priority amount

2.1 Priority creditor’s name and mailing address                As of the petition filing date, the claim is:      $29,845.40                      $29,845.40
       Internal Revenue Service                                 Check all that apply.
                                                                ❑ Contingent
       Internal Revenue Service                                 ❑ Unliquidated
       Special Procedures-Insolvency                            ❑ Disputed
       P.O. Box 7346
                                                                Basis for the Claim:
       Philadelphia, PA 19101                                    Payroll Withholding Taxes
       Date or dates debt was incurred                          Is the claim subject to offset?
                                                                ✔ No
                                                                ❑
                                                                ❑ Yes
       Last 4 digits of account
       number
       Specify Code subsection of PRIORITY unsecured
       claim: 11 U.S.C. § 507(a) (8)
2.2 Priority creditor’s name and mailing address                As of the petition filing date, the claim is:      $15,658.53                      $15,658.53
       State Comptroller of Public Accounts                     Check all that apply.
                                                                ❑ Contingent
       Revenue Accounting Division -                            ❑ Unliquidated
       Bankruptcy Section                                       ❑ Disputed
       P.O. Box 13528
                                                                Basis for the Claim:
       Austin, TX 78711                                          Sales and Franchise Taxes
       Date or dates debt was incurred                          Is the claim subject to offset?
                                                                ✔ No
                                                                ❑
                                                                ❑ Yes
       Last 4 digits of account
       number
       Specify Code subsection of PRIORITY unsecured
       claim: 11 U.S.C. § 507(a) (8)




Official Form 206E/F                                            Schedule E/F: Creditors Who Have Unsecured Claims                                                page 1 of 50
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Debtor      O'Connor Construction Group, LLC                                                           Case number (if known)
           Name




 Part 1: Additional Page

2.3 Priority creditor’s name and mailing address       As of the petition filing date, the claim is:   unknown                    unknown
      Texas Attorney General's Office                  Check all that apply.
                                                       ❑ Contingent
      Bankruptcy-Collections Division                  ❑ Unliquidated
      P.O. Box 12548                                   ❑ Disputed
     Austin, TX 78711-2548                             Basis for the Claim:

     Date or dates debt was incurred
                                                       Is the claim subject to offset?
                                                       ✔ No
                                                       ❑
     Last 4 digits of account                          ❑ Yes
     number
     Specify Code subsection of PRIORITY unsecured
     claim: 11 U.S.C. § 507(a) (8)
2.4 Priority creditor’s name and mailing address       As of the petition filing date, the claim is:   unknown                    unknown
      Texas Workforce Commission                       Check all that apply.
                                                       ❑ Contingent
      TEC Building- Bankruptcy                         ❑ Unliquidated
      101 E. 15th Street                               ❑ Disputed
     Austin, TX 78778                                  Basis for the Claim:

     Date or dates debt was incurred
                                                       Is the claim subject to offset?
                                                       ✔ No
                                                       ❑
     Last 4 digits of account                          ❑ Yes
     number
     Specify Code subsection of PRIORITY unsecured
     claim: 11 U.S.C. § 507(a) (8)




Official Form 206E/F                                 Schedule E/F: Creditors Who Have Unsecured Claims                                      page 2 of 50
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Debtor       O'Connor Construction Group, LLC                                                                       Case number (if known)
            Name

 Part 2: List All Creditors with NONPRIORITY Unsecured Claims

  3.   List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill out
       and attach the Additional Page of Part 2.
                                                                                                                                              Amount of claim

3.1 Nonpriority creditor’s name and mailing address                            As of the petition filing date, the claim is:                   $99,739.00
       4 Front Engineered Solutions                                            Check all that apply.
                                                                               ❑ Contingent
       1612 Hutton Drive Suite 140                                             ❑ Unliquidated
                                                                               ❑ Disputed
       Carrollton, TX 75006
                                                                               Basis for the claim: Subcontractor
                                                                               Is the claim subject to offset?
       Date or dates debt was incurred                                         ✔ No
                                                                               ❑
       Last 4 digits of account number                                         ❑ Yes
3.2 Nonpriority creditor’s name and mailing address                            As of the petition filing date, the claim is:                   $5,567.50
       A&A Sawing LLC                                                          Check all that apply.
                                                                               ❑ Contingent
       Po Box 59858                                                            ❑ Unliquidated
                                                                               ❑ Disputed
       Dallas, TX 75229-1858
                                                                               Basis for the claim: Subcontractor
                                                                               Is the claim subject to offset?
       Date or dates debt was incurred                                         ✔ No
                                                                               ❑
       Last 4 digits of account number                                         ❑ Yes
3.3 Nonpriority creditor’s name and mailing address                            As of the petition filing date, the claim is:                   $78,620.39
       ABC SUPPLY                                                              Check all that apply.
                                                                               ❑ Contingent
       Po Box 842450                                                           ❑ Unliquidated
                                                                               ❑ Disputed
       Dallas, TX 75284-2450
                                                                               Basis for the claim: Materials Supplier
                                                                               Is the claim subject to offset?
       Date or dates debt was incurred                                         ✔ No
                                                                               ❑
       Last 4 digits of account number                                         ❑ Yes
       Nonpriority creditor’s name and mailing address                         As of the petition filing date, the claim is:                   $15,360.31
3.4                                                                            Check all that apply.
       Access Overhead Door
                                                                               ❑ Contingent
       4555 Forest Hill Cir                                                    ❑ Unliquidated
                                                                               ❑ Disputed
       Forest Hill, TX 76140-1401
                                                                               Basis for the claim: Subcontractor
                                                                               Is the claim subject to offset?
       Date or dates debt was incurred                                         ✔ No
                                                                               ❑
       Last 4 digits of account number                                         ❑ Yes
       Nonpriority creditor’s name and mailing address                         As of the petition filing date, the claim is:                   $1,900.00
3.5                                                                            Check all that apply.
       Acheson Architecture, LLC
                                                                               ❑ Contingent
       16905 White Rock Cir                                                    ❑ Unliquidated
                                                                               ❑ Disputed
       Flint, TX 75762-6009
                                                                               Basis for the claim: Architectural Services
                                                                               Is the claim subject to offset?
       Date or dates debt was incurred                                         ✔ No
                                                                               ❑
       Last 4 digits of account number                                         ❑ Yes




Official Form 206E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                   page 3 of 50
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Debtor        O'Connor Construction Group, LLC                                                                Case number (if known)
             Name




 Part 2: Additional Page

3.6      Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:               $3,688.65
         ACT Metal Deck Supply                                             Check all that apply.
                                                                           ❑ Contingent
         1601 Emily Ln                                                     ❑ Unliquidated
                                                                           ❑ Disputed
         Aurora, IL 60502-7801
                                                                           Basis for the claim: Materials Supplier
                                                                           Is the claim subject to offset?
         Date or dates debt was incurred                                   ✔ No
                                                                           ❑
         Last 4 digits of account number                                   ❑ Yes
3.7      Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:               $5,115.00
         Action Fire Pros                                                  Check all that apply.
                                                                           ❑ Contingent
         Po Box 797                                                        ❑ Unliquidated
                                                                           ❑ Disputed
         Waxahachie, TX 75168-0797
                                                                           Basis for the claim: Subcontractor
                                                                           Is the claim subject to offset?
         Date or dates debt was incurred                                   ✔ No
                                                                           ❑
         Last 4 digits of account number                                   ❑ Yes
3.8      Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:               $730.00
         Action Services Inc.                                              Check all that apply.
                                                                           ❑ Contingent
         Po Box 232                                                        ❑ Unliquidated
                                                                           ❑ Disputed
         Hiawatha, IA 52233-0232
                                                                           Basis for the claim: Rental Equipment
                                                                           Is the claim subject to offset?
         Date or dates debt was incurred                                   ✔ No
                                                                           ❑
         Last 4 digits of account number                                   ❑ Yes
         Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:               $21,789.34
3.9                                                                        Check all that apply.
         Advanced Electrical Systems, I
                                                                           ❑ Contingent
         Po Box 36503                                                      ❑ Unliquidated
                                                                           ❑ Disputed
         Louisville, KY 40233-6503
                                                                           Basis for the claim: Subcontractor
                                                                           Is the claim subject to offset?
         Date or dates debt was incurred                                   ✔ No
                                                                           ❑
         Last 4 digits of account number                                   ❑ Yes
         Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:               $79,353.14
3.10                                                                       Check all that apply.
         Ahern Fire Protection
                                                                           ❑ Contingent
         Po Box 1316                                                       ❑ Unliquidated
                                                                           ❑ Disputed
         Fond Du Lac, WI 54936-1316
                                                                           Basis for the claim: Subcontractor
                                                                           Is the claim subject to offset?
         Date or dates debt was incurred                                   ✔ No
                                                                           ❑
         Last 4 digits of account number                                   ❑ Yes




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Debtor        O'Connor Construction Group, LLC                                                                Case number (if known)
             Name




 Part 2: Additional Page

3.11 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:               $3,288.61
         Airgas USA, LLC                                                   Check all that apply.
                                                                           ❑ Contingent
         Po Box 734672                                                     ❑ Unliquidated
                                                                           ❑ Disputed
         Dallas, TX 75373-4672
                                                                           Basis for the claim: Materials Supplier
                                                                           Is the claim subject to offset?
         Date or dates debt was incurred                                   ✔ No
                                                                           ❑
         Last 4 digits of account number                                   ❑ Yes
3.12 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:               $18,076.75
         Alex Baumgartner                                                  Check all that apply.
                                                                           ❑ Contingent
         1225 E Bankhead Hwy                                               ❑ Unliquidated
                                                                           ❑ Disputed
         Weatherford, TX 76086
                                                                           Basis for the claim: Money Loaned
                                                                           Is the claim subject to offset?
         Date or dates debt was incurred                                   ✔ No
                                                                           ❑
         Last 4 digits of account number                                   ❑ Yes
3.13 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:               unknown
         Alex Cor Inc                                                      Check all that apply.
                                                                           ❑ Contingent
         1300 Lucas St                                                     ❑ Unliquidated
                                                                           ❑ Disputed
         Leesburg, FL 34748-6523
                                                                           Basis for the claim: Subcontractor
                                                                           Is the claim subject to offset?
         Date or dates debt was incurred                                   ✔ No
                                                                           ❑
         Last 4 digits of account number                                   ❑ Yes
         Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:               $223,468.80
3.14                                                                       Check all that apply.
         All Weather Insulated Panels
                                                                           ❑ Contingent
         929 Aldridge Rd                                                   ❑ Unliquidated
                                                                           ❑ Disputed
         Vacaville, CA 95688-9282
                                                                           Basis for the claim: Materials Supplier
                                                                           Is the claim subject to offset?
         Date or dates debt was incurred                                   ✔ No
                                                                           ❑
         Last 4 digits of account number                                   ❑ Yes
         Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:               $8,904.73
3.15                                                                       Check all that apply.
         Allegiance Industries Inc.
                                                                           ❑ Contingent
         105 Sunbelt Blvd                                                  ❑ Unliquidated
                                                                           ❑ Disputed
         Columbia, SC 29203-2617
                                                                           Basis for the claim: Subcontractor
                                                                           Is the claim subject to offset?
         Date or dates debt was incurred                                   ✔ No
                                                                           ❑
         Last 4 digits of account number                                   ❑ Yes




Official Form 206E/F                                       Schedule E/F: Creditors Who Have Unsecured Claims                                         page 5 of 50
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Debtor        O'Connor Construction Group, LLC                                                                Case number (if known)
             Name




 Part 2: Additional Page

3.16 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:               $584,595.00
         Allied Electrical Contractors                                     Check all that apply.
                                                                           ❑ Contingent
         15225 Hwy 36 Ste 1                                                ❑ Unliquidated
                                                                           ❑ Disputed
         Bennington, NE 68007-5163
                                                                           Basis for the claim: Subcontractor
                                                                           Is the claim subject to offset?
         Date or dates debt was incurred                                   ✔ No
                                                                           ❑
         Last 4 digits of account number                                   ❑ Yes
3.17 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:               $798.72
         Al's H2O Services & Repairs LL                                    Check all that apply.
                                                                           ❑ Contingent
         11174 Yucca Rd                                                    ❑ Unliquidated
                                                                           ❑ Disputed
         Minneola, KS 67865-8502
                                                                           Basis for the claim: Subcontractor
                                                                           Is the claim subject to offset?
         Date or dates debt was incurred                                   ✔ No
                                                                           ❑
         Last 4 digits of account number                                   ❑ Yes
3.18 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:               $50,657.37
         American Express [Blue for Business]                              Check all that apply.
                                                                           ❑ Contingent
         P.O. Box 981535                                                   ❑ Unliquidated
                                                                           ❑ Disputed
         El Paso, TX 79998-1535
                                                                           Basis for the claim: Credit Card Charges
                                                                           Is the claim subject to offset?
         Date or dates debt was incurred                                   ✔ No
                                                                           ❑
         Last 4 digits of account number       2   0   0    6              ❑ Yes
         Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:               $66,001.10
3.19                                                                       Check all that apply.
         American Express [Plum Card]
                                                                           ❑ Contingent
         P.O. Box 981535                                                   ❑ Unliquidated
                                                                           ❑ Disputed
         El Paso, TX 79998-1535
                                                                           Basis for the claim: Credit Card Charges
                                                                           Is the claim subject to offset?
         Date or dates debt was incurred                                   ✔ No
                                                                           ❑
         Last 4 digits of account number       1   0   0    7              ❑ Yes
         Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:               $2,900.82
3.20                                                                       Check all that apply.
         American Express [Plus Credit Card]
                                                                           ❑ Contingent
         P.O. Box 981535                                                   ❑ Unliquidated
                                                                           ❑ Disputed
         El Paso, TX 79998-1535
                                                                           Basis for the claim: Credit Card Charges
                                                                           Is the claim subject to offset?
         Date or dates debt was incurred                                   ✔ No
                                                                           ❑
         Last 4 digits of account number       1   0   0    4              ❑ Yes




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3.21 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:               $22,692.05
         Aradillaz Fire Protection, LLC                                    Check all that apply.
                                                                           ❑ Contingent
         2135 Cougar Pass Dr                                               ❑ Unliquidated
                                                                           ❑ Disputed
         San Antonio, TX 78230-0905
                                                                           Basis for the claim: Subcontractor
                                                                           Is the claim subject to offset?
         Date or dates debt was incurred                                   ✔ No
                                                                           ❑
         Last 4 digits of account number                                   ❑ Yes
3.22 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:               $44,401.00
         Ardor, LLC                                                        Check all that apply.
                                                                           ❑ Contingent
         9502 S Eastern Ave                                                ❑ Unliquidated
                                                                           ❑ Disputed
         Moore, OK 73160-9015
                                                                           Basis for the claim: Subcontractor
                                                                           Is the claim subject to offset?
         Date or dates debt was incurred                                   ✔ No
                                                                           ❑
         Last 4 digits of account number                                   ❑ Yes
3.23 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:               $1,789.33
         Aries Building Systems LLC                                        Check all that apply.
                                                                           ❑ Contingent
         2900 S Quincy St Ste 42                                           ❑ Unliquidated
                                                                           ❑ Disputed
         Arlington, VA 22206-2231
                                                                           Basis for the claim: Rental Equipment
                                                                           Is the claim subject to offset?
         Date or dates debt was incurred                                   ✔ No
                                                                           ❑
         Last 4 digits of account number                                   ❑ Yes
         Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:               $59,040.50
3.24                                                                       Check all that apply.
         Arkotex Inc.
                                                                           ❑ Contingent
         20811 Arkotex Rd                                                  ❑ Unliquidated
                                                                           ❑ Disputed
         Siloam Spgs, AR 72761-9107
                                                                           Basis for the claim: Subcontractor
                                                                           Is the claim subject to offset?
         Date or dates debt was incurred                                   ✔ No
                                                                           ❑
         Last 4 digits of account number                                   ❑ Yes
         Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:               $13,104.28
3.25                                                                       Check all that apply.
         Asi Doors Inc.
                                                                           ❑ Contingent
         5848 N 95th Ct                                                    ❑ Unliquidated
                                                                           ❑ Disputed
         Milwaukee, WI 53225-2613
                                                                           Basis for the claim: Materials Supplier
                                                                           Is the claim subject to offset?
         Date or dates debt was incurred                                   ✔ No
                                                                           ❑
         Last 4 digits of account number                                   ❑ Yes




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3.26 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:               $31,850.00
         B6 Contracting                                                    Check all that apply.
                                                                           ❑ Contingent
         409 Hall Dr                                                       ❑ Unliquidated
                                                                           ❑ Disputed
         Winnsboro, TX 75494-2417
                                                                           Basis for the claim: Subcontractor
                                                                           Is the claim subject to offset?
         Date or dates debt was incurred                                   ✔ No
                                                                           ❑
         Last 4 digits of account number                                   ❑ Yes
3.27 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:               $19,895.00
         Baird Hampton & Brown Inc                                         Check all that apply.
                                                                           ❑ Contingent
         6300 Ridglea Pl Ste 700                                           ❑ Unliquidated
                                                                           ❑ Disputed
         Fort Worth, TX 76116-5733
                                                                           Basis for the claim: Engineering Services
                                                                           Is the claim subject to offset?
         Date or dates debt was incurred                                   ✔ No
                                                                           ❑
         Last 4 digits of account number                                   ❑ Yes
3.28 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:               $600,000.00
         Baker Refrigeration                                               Check all that apply.
                                                                           ❑ Contingent
         3931 N Arkansas Avenue                                            ❑ Unliquidated
                                                                           ❑ Disputed
         Russellville, AR 72802
                                                                           Basis for the claim: Subcontractor
                                                                           Is the claim subject to offset?
         Date or dates debt was incurred                                   ✔ No
                                                                           ❑
         Last 4 digits of account number                                   ❑ Yes
         Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:               $51,870.12
3.29                                                                       Check all that apply.
         Bankston Electric Company
                                                                           ❑ Contingent
         Po Box 4                                                          ❑ Unliquidated
                                                                           ❑ Disputed
         Venus, TX 76084-0004
                                                                           Basis for the claim: Subcontractor
                                                                           Is the claim subject to offset?
         Date or dates debt was incurred                                   ✔ No
                                                                           ❑
         Last 4 digits of account number                                   ❑ Yes
         Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:               $78,040.00
3.30                                                                       Check all that apply.
         Bell Brothers Heating &
                                                                           ❑ Contingent
         2822 6th Ave                                                      ❑ Unliquidated
                                                                           ❑ Disputed
         Des Moines, IA 50313-4127
                                                                           Basis for the claim: Subcontractor
                                                                           Is the claim subject to offset?
         Date or dates debt was incurred                                   ✔ No
                                                                           ❑
         Last 4 digits of account number                                   ❑ Yes




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3.31 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:               $19,300.00
         Bergen Plumbing HeatingCooling                                    Check all that apply.
                                                                           ❑ Contingent
         35 Fletcher Ave                                                   ❑ Unliquidated
                                                                           ❑ Disputed
         Waterloo, IA 50701-6101
                                                                           Basis for the claim: Subcontractor
                                                                           Is the claim subject to offset?
         Date or dates debt was incurred                                   ✔ No
                                                                           ❑
         Last 4 digits of account number                                   ❑ Yes
3.32 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:               $18,005.00
         Bertini Tile                                                      Check all that apply.
                                                                           ❑ Contingent
         11273 Meredith Dr                                                 ❑ Unliquidated
                                                                           ❑ Disputed
         Urbandale, IA 50322-7254
                                                                           Basis for the claim: Subcontractor
                                                                           Is the claim subject to offset?
         Date or dates debt was incurred                                   ✔ No
                                                                           ❑
         Last 4 digits of account number                                   ❑ Yes
3.33 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:               $1,306.80
         Black Hawk Roof Co., Inc                                          Check all that apply.
                                                                           ❑ Contingent
         619 E 19th St                                                     ❑ Unliquidated
                                                                           ❑ Disputed
         Cedar Falls, IA 50613-4275
                                                                           Basis for the claim: Subcontractor
                                                                           Is the claim subject to offset?
         Date or dates debt was incurred                                   ✔ No
                                                                           ❑
         Last 4 digits of account number                                   ❑ Yes
         Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:               $22,149.50
3.34                                                                       Check all that apply.
         Blackhawk Automatic Sprinklers
                                                                           ❑ Contingent
         Po Box 998                                                        ❑ Unliquidated
                                                                           ❑ Disputed
         Cedar Falls, IA 50613-0047
                                                                           Basis for the claim: Subcontractor
                                                                           Is the claim subject to offset?
         Date or dates debt was incurred                                   ✔ No
                                                                           ❑
         Last 4 digits of account number                                   ❑ Yes
         Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:               $21,183.19
3.35                                                                       Check all that apply.
         Brazos Door & Hardware Co.
                                                                           ✔ Contingent
                                                                           ❑
         c/o Fred M. "Mickey" Jones                                        ✔ Unliquidated
                                                                           ❑
                                                                           ✔ Disputed
                                                                           ❑
         3800 E 42nd Street Suite 500                                      Basis for the claim: Materials Supplier
         Odessa, TX 79762                                                  Is the claim subject to offset?
                                                                           ✔ No
                                                                           ❑
                                                                           ❑ Yes
         Date or dates debt was incurred

         Last 4 digits of account number




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3.36 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:               $300.00
         Breck Construction Co. Inc                                        Check all that apply.
                                                                           ❑ Contingent
         3120 Armand St                                                    ❑ Unliquidated
                                                                           ❑ Disputed
         Monroe, LA 71201-3914
                                                                           Basis for the claim: Materials Supplier
                                                                           Is the claim subject to offset?
         Date or dates debt was incurred                                   ✔ No
                                                                           ❑
         Last 4 digits of account number                                   ❑ Yes
3.37 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:               $925.89
         Bridgeport Building Center                                        Check all that apply.
                                                                           ❑ Contingent
         9330 Lyndon B Johnson Fwy Ste 850                                 ❑ Unliquidated
                                                                           ❑ Disputed
         Dallas, TX 75243-3485
                                                                           Basis for the claim: Materials Supplier
                                                                           Is the claim subject to offset?
         Date or dates debt was incurred                                   ✔ No
                                                                           ❑
         Last 4 digits of account number                                   ❑ Yes
3.38 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:               $15,410.00
         Briggs Equipment, Inc                                             Check all that apply.
                                                                           ❑ Contingent
         Po Box 841272                                                     ❑ Unliquidated
                                                                           ❑ Disputed
         Dallas, TX 75284-1272
                                                                           Basis for the claim: Rental Equipment
                                                                           Is the claim subject to offset?
         Date or dates debt was incurred                                   ✔ No
                                                                           ❑
         Last 4 digits of account number                                   ❑ Yes
         Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:               $7,174.36
3.39                                                                       Check all that apply.
         Budget Dumpster LLC
                                                                           ❑ Contingent
         830 Canterbury Rd                                                 ❑ Unliquidated
                                                                           ❑ Disputed
         Westlake, OH 44145-1403
                                                                           Basis for the claim: Rental Equipment
                                                                           Is the claim subject to offset?
         Date or dates debt was incurred                                   ✔ No
                                                                           ❑
         Last 4 digits of account number                                   ❑ Yes
         Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:               $140.30
3.40                                                                       Check all that apply.
         Builders First Source
                                                                           ❑ Contingent
         Po Box 844106                                                     ❑ Unliquidated
                                                                           ❑ Disputed
         Dallas, TX 75284-4106
                                                                           Basis for the claim: Materials Supplier
                                                                           Is the claim subject to offset?
         Date or dates debt was incurred                                   ✔ No
                                                                           ❑
         Last 4 digits of account number                                   ❑ Yes




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3.41 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:               $350,000.00
         Butters Fetting                                                   Check all that apply.
                                                                           ❑ Contingent
         1669 S 1st St                                                     ❑ Unliquidated
                                                                           ❑ Disputed
         Milwaukee, WI 53204-2902
                                                                           Basis for the claim: Subcontractor
                                                                           Is the claim subject to offset?
         Date or dates debt was incurred                                   ✔ No
                                                                           ❑
         Last 4 digits of account number                                   ❑ Yes
3.42 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:               $3,200.04
         Cal-Tech Testing Inc                                              Check all that apply.
                                                                           ❑ Contingent
         Po Box 1625                                                       ❑ Unliquidated
                                                                           ❑ Disputed
         Lake City, FL 32056-1625
                                                                           Basis for the claim: Subcontractor
                                                                           Is the claim subject to offset?
         Date or dates debt was incurred                                   ✔ No
                                                                           ❑
         Last 4 digits of account number                                   ❑ Yes
3.43 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:               $14,686.68
         CapitalOne Spark Business                                         Check all that apply.
                                                                           ❑ Contingent
         P.O. Box 30285                                                    ❑ Unliquidated
                                                                           ❑ Disputed
         Salt Lake City, UT 84130-0285
                                                                           Basis for the claim: Credit Card Charges
                                                                           Is the claim subject to offset?
         Date or dates debt was incurred                                   ✔ No
                                                                           ❑
         Last 4 digits of account number       5   5   0    0              ❑ Yes
         Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:               $25,923.63
3.44                                                                       Check all that apply.
         Cardinal Integrated Systems
                                                                           ❑ Contingent
         1055 Grade Ln                                                     ❑ Unliquidated
                                                                           ❑ Disputed
         Louisville, KY 40213-2608
                                                                           Basis for the claim: Subcontractor
                                                                           Is the claim subject to offset?
         Date or dates debt was incurred                                   ✔ No
                                                                           ❑
         Last 4 digits of account number                                   ❑ Yes
         Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:               $11,580.20
3.45                                                                       Check all that apply.
         Carlisle Roofing Systems In
                                                                           ❑ Contingent
         21485 Network Pl                                                  ❑ Unliquidated
                                                                           ❑ Disputed
         Chicago, IL 60673-1214
                                                                           Basis for the claim: Materials Supplier
                                                                           Is the claim subject to offset?
         Date or dates debt was incurred                                   ✔ No
                                                                           ❑
         Last 4 digits of account number                                   ❑ Yes




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3.46 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:               $10,287.35
         CAT Commercial Card                                               Check all that apply.
                                                                           ❑ Contingent
         Po Box 78004                                                      ❑ Unliquidated
                                                                           ❑ Disputed
         Phoenix, AZ 85062-8004
                                                                           Basis for the claim: Rental Equipment
                                                                           Is the claim subject to offset?
         Date or dates debt was incurred                                   ✔ No
                                                                           ❑
         Last 4 digits of account number                                   ❑ Yes
3.47 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:               $165,376.00
         Charter Drywall Dallas, Inc                                       Check all that apply.
                                                                           ❑ Contingent
         12901 Nicholson Rd Ste 160                                        ❑ Unliquidated
                                                                           ❑ Disputed
         Farmers Brnch, TX 75234-9299
                                                                           Basis for the claim: Subcontractor
                                                                           Is the claim subject to offset?
         Date or dates debt was incurred                                   ✔ No
                                                                           ❑
         Last 4 digits of account number                                   ❑ Yes
3.48 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:               $50,622.30
         Chase                                                             Check all that apply.
                                                                           ❑ Contingent
         P.O. Box 15298                                                    ❑ Unliquidated
                                                                           ❑ Disputed
         Wilmington, DE 19850-5298
                                                                           Basis for the claim: Credit Card Charges
                                                                           Is the claim subject to offset?
         Date or dates debt was incurred                                   ✔ No
                                                                           ❑
         Last 4 digits of account number       5   1   8    9              ❑ Yes
         Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:               $36,488.09
3.49                                                                       Check all that apply.
         Chase
                                                                           ❑ Contingent
         P.O. Box 15298                                                    ❑ Unliquidated
                                                                           ❑ Disputed
         Wilmington, DE 19850-5298
                                                                           Basis for the claim: Credit Card Charges
                                                                           Is the claim subject to offset?
         Date or dates debt was incurred                                   ✔ No
                                                                           ❑
         Last 4 digits of account number       9   8   5    6              ❑ Yes
         Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:               $5,300.00
3.50                                                                       Check all that apply.
         Chavarris's Plumbing, Inc
                                                                           ❑ Contingent
         6320 Krone Ln                                                     ❑ Unliquidated
                                                                           ❑ Disputed
         Laredo, TX 78041-6202
                                                                           Basis for the claim: Subcontractor
                                                                           Is the claim subject to offset?
         Date or dates debt was incurred                                   ✔ No
                                                                           ❑
         Last 4 digits of account number                                   ❑ Yes




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3.51 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:               $974.58
         City of Denton                                                    Check all that apply.
                                                                           ❑ Contingent
         Po Box 660150                                                     ❑ Unliquidated
                                                                           ❑ Disputed
         Dallas, TX 75266-0150
                                                                           Basis for the claim: Utility
                                                                           Is the claim subject to offset?
         Date or dates debt was incurred                                   ✔ No
                                                                           ❑
         Last 4 digits of account number                                   ❑ Yes
3.52 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:               $2,564.00
         Classic Counter Tops Inc                                          Check all that apply.
                                                                           ❑ Contingent
         2325 Executive Dr                                                 ❑ Unliquidated
                                                                           ❑ Disputed
         Garland, TX 75041-6122
                                                                           Basis for the claim: Subcontractor
                                                                           Is the claim subject to offset?
         Date or dates debt was incurred                                   ✔ No
                                                                           ❑
         Last 4 digits of account number                                   ❑ Yes
3.53 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:               $4,100.00
         Cold Storage Pros, LLC                                            Check all that apply.
                                                                           ❑ Contingent
         Po Box 285                                                        ❑ Unliquidated
                                                                           ❑ Disputed
         Fellsmere, FL 32948-0285
                                                                           Basis for the claim: Subcontractor
                                                                           Is the claim subject to offset?
         Date or dates debt was incurred                                   ✔ No
                                                                           ❑
         Last 4 digits of account number                                   ❑ Yes
         Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:               $12,280.81
3.54                                                                       Check all that apply.
         Columbia Sheet Metal Inc.,
                                                                           ❑ Contingent
         614 112th St E                                                    ❑ Unliquidated
                                                                           ❑ Disputed
         Tacoma, WA 98445-3002
                                                                           Basis for the claim: Materials Supplier
                                                                           Is the claim subject to offset?
         Date or dates debt was incurred                                   ✔ No
                                                                           ❑
         Last 4 digits of account number                                   ❑ Yes
         Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:               $2,373.73
3.55                                                                       Check all that apply.
         Constellation New Energy In
                                                                           ❑ Contingent
         Po Box 5471                                                       ❑ Unliquidated
                                                                           ❑ Disputed
         Carol Stream, IL 60197-5471
                                                                           Basis for the claim: Utility
                                                                           Is the claim subject to offset?
         Date or dates debt was incurred                                   ✔ No
                                                                           ❑
         Last 4 digits of account number       3   9   -    0              ❑ Yes




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3.56 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:               $115,854.91
                                                                           Check all that apply.
         Creditors Relief, LLC
                                                                           ✔ Contingent
                                                                           ❑
         c/o David Graff, Esq.                                             ✔ Unliquidated
                                                                           ❑
         Graff Siliverstein LLC                                            ✔ Disputed
                                                                           ❑
                                                                                                Debt Restructuring
         3 Middle Patent Road
                                                                           Basis for the claim: Services
         Armonk, NY 10504                                                  Is the claim subject to offset?
                                                                           ✔ No
                                                                           ❑
         Date or dates debt was incurred                                   ❑ Yes
         Last 4 digits of account number

3.57 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:               unknown
                                                                           Check all that apply.
         Crystal Distribution Services, Inc.
                                                                           ✔ Contingent
                                                                           ❑
         c/o Phillip L. Lamberson                                          ✔ Unliquidated
                                                                           ❑
         500 Winstead Building                                             ✔ Disputed
                                                                           ❑
                                                                           Basis for the claim: Breach of Contract
         2728 N. Harwood Street
                                                                           Is the claim subject to offset?
         Dallas, TX 75201                                                  ✔ No
                                                                           ❑
                                                                           ❑ Yes
         Date or dates debt was incurred

         Last 4 digits of account number

3.58 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:               $11,052.95
         D&S Engineering Labs                                              Check all that apply.
                                                                           ❑ Contingent
         Po Box 855                                                        ❑ Unliquidated
                                                                           ❑ Disputed
         Collinsville, TX 76233-0855
                                                                           Basis for the claim: Subcontractor
                                                                           Is the claim subject to offset?
         Date or dates debt was incurred                                   ✔ No
                                                                           ❑
         Last 4 digits of account number                                   ❑ Yes
         Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:               $318,806.97
3.59                                                                       Check all that apply.
         Danny Milligan
                                                                           ❑ Contingent
         9657 Old Agnes Road                                               ❑ Unliquidated
                                                                           ❑ Disputed
         Springtown, TX 76082
                                                                           Basis for the claim: Money Loaned
                                                                           Is the claim subject to offset?
         Date or dates debt was incurred                                   ✔ No
                                                                           ❑
         Last 4 digits of account number                                   ❑ Yes
         Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:               $3,770.40
3.60                                                                       Check all that apply.
         DDM Materials
                                                                           ❑ Contingent
         11863 Harmonson Rd                                                ❑ Unliquidated
                                                                           ❑ Disputed
         Justin, TX 76247-8910
                                                                           Basis for the claim: Subcontractor
                                                                           Is the claim subject to offset?
         Date or dates debt was incurred                                   ✔ No
                                                                           ❑
         Last 4 digits of account number                                   ❑ Yes




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3.61 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:               $6,796.92
         DDP Specialty Electronic Mater                                    Check all that apply.
                                                                           ❑ Contingent
         Po Box 734080                                                     ❑ Unliquidated
                                                                           ❑ Disputed
         Chicago, IL 60673-4080
                                                                           Basis for the claim: Materials Supplier
                                                                           Is the claim subject to offset?
         Date or dates debt was incurred                                   ✔ No
                                                                           ❑
         Last 4 digits of account number                                   ❑ Yes
3.62 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:               $8,800.00
                                                                           Check all that apply.
         Del Real, LLC
                                                                           ✔ Contingent
                                                                           ❑
         c/o Darren P. Trone                                               ✔ Unliquidated
                                                                           ❑
         Law Offices of Darren P. Trone                                    ✔ Disputed
                                                                           ❑
                                                                           Basis for the claim: Breach of Contract
         3838 Orange Street
                                                                           Is the claim subject to offset?
         Riverside, CA 92501                                               ✔ No
                                                                           ❑
                                                                           ❑ Yes
         Date or dates debt was incurred

         Last 4 digits of account number

3.63 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:               $41,514.20
         Delta Company Roofing LLC                                         Check all that apply.
                                                                           ❑ Contingent
         387 N Corona St Ste 618                                           ❑ Unliquidated
                                                                           ❑ Disputed
         Denver, CO 80218-3939
                                                                           Basis for the claim: Subcontractor
                                                                           Is the claim subject to offset?
         Date or dates debt was incurred                                   ✔ No
                                                                           ❑
         Last 4 digits of account number                                   ❑ Yes
         Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:               $25,118.34
3.64                                                                       Check all that apply.
         DFW Door & Hardware
                                                                           ❑ Contingent
         1173 113th St                                                     ❑ Unliquidated
                                                                           ❑ Disputed
         Grand Prairie, TX 75050-2610
                                                                           Basis for the claim: Materials Supplier
                                                                           Is the claim subject to offset?
         Date or dates debt was incurred                                   ✔ No
                                                                           ❑
         Last 4 digits of account number                                   ❑ Yes
         Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:               $16,186.35
3.65                                                                       Check all that apply.
         Doing Steel Fabrications LLC
                                                                           ❑ Contingent
         2125 N Golden Ave                                                 ❑ Unliquidated
                                                                           ❑ Disputed
         Springfield, MO 65803-2221
                                                                           Basis for the claim: Materials Supplier
                                                                           Is the claim subject to offset?
         Date or dates debt was incurred                                   ✔ No
                                                                           ❑
         Last 4 digits of account number                                   ❑ Yes




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3.66 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:               $12,875.35
         Door & Frame Solutions                                            Check all that apply.
                                                                           ❑ Contingent
         11054 Shady Trl Ste 303                                           ❑ Unliquidated
                                                                           ❑ Disputed
         Dallas, TX 75229-7679
                                                                           Basis for the claim: Materials Supplier
                                                                           Is the claim subject to offset?
         Date or dates debt was incurred                                   ✔ No
                                                                           ❑
         Last 4 digits of account number                                   ❑ Yes
3.67 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:               $171,495.35
         Door Engineering and Manufac                                      Check all that apply.
                                                                           ❑ Contingent
         Po Box 775249                                                     ❑ Unliquidated
                                                                           ❑ Disputed
         Chicago, IL 60677-5249
                                                                           Basis for the claim: Materials Supplier
                                                                           Is the claim subject to offset?
         Date or dates debt was incurred                                   ✔ No
                                                                           ❑
         Last 4 digits of account number                                   ❑ Yes
3.68 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:               $62,563.94
         DuraServ dba Passport Dock                                        Check all that apply.
                                                                           ❑ Contingent
         Po Box 414746                                                     ❑ Unliquidated
                                                                           ❑ Disputed
         Boston, MA 02241-4746
                                                                           Basis for the claim: Subcontractor
                                                                           Is the claim subject to offset?
         Date or dates debt was incurred                                   ✔ No
                                                                           ❑
         Last 4 digits of account number                                   ❑ Yes
         Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:               $4,893.00
3.69                                                                       Check all that apply.
         Dynamite Dumpsters Mgmt Group
                                                                           ❑ Contingent
         51582 Highway 443                                                 ❑ Unliquidated
                                                                           ❑ Disputed
         Loranger, LA 70446-2106
                                                                           Basis for the claim: Rental Equipment
                                                                           Is the claim subject to offset?
         Date or dates debt was incurred                                   ✔ No
                                                                           ❑
         Last 4 digits of account number                                   ❑ Yes
         Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:               $1,391.25
3.70                                                                       Check all that apply.
         ECS Southwest LLP
                                                                           ❑ Contingent
         14026 Thunderbolt Pl # 800                                        ❑ Unliquidated
                                                                           ❑ Disputed
         Chantilly, VA 20151-3295
                                                                           Basis for the claim: Subcontractor
                                                                           Is the claim subject to offset?
         Date or dates debt was incurred                                   ✔ No
                                                                           ❑
         Last 4 digits of account number                                   ❑ Yes




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3.71 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:               $17,500.00
         Edward Milligan                                                   Check all that apply.
                                                                           ❑ Contingent
         183 County Road 4797                                              ❑ Unliquidated
                                                                           ❑ Disputed
         Boyd, TX 76023-5629
                                                                           Basis for the claim: Money Loaned
                                                                           Is the claim subject to offset?
         Date or dates debt was incurred                                   ✔ No
                                                                           ❑
         Last 4 digits of account number                                   ❑ Yes
3.72 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:               $51,672.00
         Eggleston King LLP                                                Check all that apply.
                                                                           ❑ Contingent
         102 Houston Ave Ste 300                                           ❑ Unliquidated
                                                                           ❑ Disputed
         Weatherford, TX 76086-4369
                                                                           Basis for the claim: Legal Services
                                                                           Is the claim subject to offset?
         Date or dates debt was incurred                                   ✔ No
                                                                           ❑
         Last 4 digits of account number                                   ❑ Yes
3.73 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:               $7,270.45
         Engineered Fall Protection                                        Check all that apply.
                                                                           ❑ Contingent
         4000 Fee Fee Rd                                                   ❑ Unliquidated
                                                                           ❑ Disputed
         Bridgeton, MO 63044-2708
                                                                           Basis for the claim: Materials Supplier
                                                                           Is the claim subject to offset?
         Date or dates debt was incurred                                   ✔ No
                                                                           ❑
         Last 4 digits of account number                                   ❑ Yes
         Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:               $1,600.00
3.74                                                                       Check all that apply.
         Epic Erectors LLC
                                                                           ❑ Contingent
         Po Box 854                                                        ❑ Unliquidated
                                                                           ❑ Disputed
         Weatherford, TX 76086-0854
                                                                           Basis for the claim: Subcontractor
                                                                           Is the claim subject to offset?
         Date or dates debt was incurred                                   ✔ No
                                                                           ❑
         Last 4 digits of account number                                   ❑ Yes
         Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:               $1,152.25
3.75                                                                       Check all that apply.
         Ernst Concrete
                                                                           ✔ Contingent
                                                                           ❑
         5800 Haunz Ln                                                     ✔ Unliquidated
                                                                           ❑
                                                                           ✔ Disputed
                                                                           ❑
         Louisville, KY 40241-1408
                                                                           Basis for the claim: Materials Supplier
                                                                           Is the claim subject to offset?
         Date or dates debt was incurred                                   ✔ No
                                                                           ❑
         Last 4 digits of account number                                   ❑ Yes




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3.76 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:               $4,050.00
         ESSL LLC                                                          Check all that apply.
                                                                           ❑ Contingent
         4544 Maxey Rd                                                     ❑ Unliquidated
                                                                           ❑ Disputed
         Alvarado, TX 76009-6126
                                                                           Basis for the claim: Subcontractor
                                                                           Is the claim subject to offset?
         Date or dates debt was incurred                                   ✔ No
                                                                           ❑
         Last 4 digits of account number                                   ❑ Yes
3.77 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:               $9,000.00
         Fairborn Equipment Company Inc                                    Check all that apply.
                                                                           ❑ Contingent
         Po Box 123                                                        ❑ Unliquidated
                                                                           ❑ Disputed
         Upper Sandsky, OH 43351-0123
                                                                           Basis for the claim: Subcontractor
                                                                           Is the claim subject to offset?
         Date or dates debt was incurred                                   ✔ No
                                                                           ❑
         Last 4 digits of account number                                   ❑ Yes
3.78 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:               $871.86
         Fastenal                                                          Check all that apply.
                                                                           ❑ Contingent
         Po Box 1286                                                       ❑ Unliquidated
                                                                           ❑ Disputed
         Winona, MN 55987-7286
                                                                           Basis for the claim: Materials Supplier
                                                                           Is the claim subject to offset?
         Date or dates debt was incurred                                   ✔ No
                                                                           ❑
         Last 4 digits of account number                                   ❑ Yes
         Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:               $31,707.71
3.79                                                                       Check all that apply.
         Fastener Systems
                                                                           ❑ Contingent
         640 Snyder Ave Ste I                                              ❑ Unliquidated
                                                                           ❑ Disputed
         West Chester, PA 19382-5597
                                                                           Basis for the claim: Materials Supplier
                                                                           Is the claim subject to offset?
         Date or dates debt was incurred                                   ✔ No
                                                                           ❑
         Last 4 digits of account number                                   ❑ Yes
         Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:               $1,136.76
3.80                                                                       Check all that apply.
         Firestone Building Products
                                                                           ❑ Contingent
         Po Box 730096                                                     ❑ Unliquidated
                                                                           ❑ Disputed
         Dallas, TX 75373-0096
                                                                           Basis for the claim: Materials Supplier
                                                                           Is the claim subject to offset?
         Date or dates debt was incurred                                   ✔ No
                                                                           ❑
         Last 4 digits of account number                                   ❑ Yes




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3.81 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:               $54,548.88
         FLDR/TLC Overton Centre L.P                                       Check all that apply.
                                                                           ❑ Contingent
         Po Box 678649 LB9592                                              ❑ Unliquidated
                                                                           ❑ Disputed
         Dallas, TX 75267-8649
                                                                           Basis for the claim: Office Lease
                                                                           Is the claim subject to offset?
         Date or dates debt was incurred                                   ✔ No
                                                                           ❑
         Last 4 digits of account number                                   ❑ Yes
3.82 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:               $2,586.90
         Foundation Building Materials                                     Check all that apply.
                                                                           ❑ Contingent
         Po Box 744398                                                     ❑ Unliquidated
                                                                           ❑ Disputed
         Atlanta, GA 30374-4398
                                                                           Basis for the claim: Materials Supplier
                                                                           Is the claim subject to offset?
         Date or dates debt was incurred                                   ✔ No
                                                                           ❑
         Last 4 digits of account number                                   ❑ Yes
3.83 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:               $41.13
         Frank Door Company                                                Check all that apply.
                                                                           ❑ Contingent
         Po Box 1720                                                       ❑ Unliquidated
                                                                           ❑ Disputed
         Newport, NC 28570-1720
                                                                           Basis for the claim: Materials Supplier
                                                                           Is the claim subject to offset?
         Date or dates debt was incurred                                   ✔ No
                                                                           ❑
         Last 4 digits of account number                                   ❑ Yes
         Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:               $14,350.00
3.84                                                                       Check all that apply.
         Freyaldenhoven Heating & Cooling
                                                                           ❑ Contingent
         1101 Front St                                                     ❑ Unliquidated
                                                                           ❑ Disputed
         Conway, AR 72032-4307
                                                                           Basis for the claim: Subcontractor
                                                                           Is the claim subject to offset?
         Date or dates debt was incurred                                   ✔ No
                                                                           ❑
         Last 4 digits of account number                                   ❑ Yes
         Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:               $2,097.50
3.85                                                                       Check all that apply.
         General Contracting Services, Inc.
                                                                           ❑ Contingent
         5818 Wilkiewicz Rd                                                ❑ Unliquidated
                                                                           ❑ Disputed
         N Little Rock, AR 72118-1446
                                                                           Basis for the claim: Subcontractor
                                                                           Is the claim subject to offset?
         Date or dates debt was incurred                                   ✔ No
                                                                           ❑
         Last 4 digits of account number                                   ❑ Yes




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3.86 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:               $0.00
                                                                           Check all that apply.
         Global Merchant Cash, Inc.
                                                                           ✔ Contingent
                                                                           ❑
         30 Broad Street -- 14th Floor                                     ✔ Unliquidated
                                                                           ❑
                                                                           ✔ Disputed
                                                                           ❑
         New York, NY 10004
                                                                           Basis for the claim: Money Loaned
                                                                           Is the claim subject to offset?
         Date or dates debt was incurred                                   ✔ No
                                                                           ❑
         Last 4 digits of account number                                   ❑ Yes
3.87 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:               $1,011.24
         Go Mini's                                                         Check all that apply.
                                                                           ❑ Contingent
         2021 Dubourg Ave                                                  ❑ Unliquidated
                                                                           ❑ Disputed
         Louisville, KY 40216-5233
                                                                           Basis for the claim: Rental Equipment
                                                                           Is the claim subject to offset?
         Date or dates debt was incurred                                   ✔ No
                                                                           ❑
         Last 4 digits of account number                                   ❑ Yes
3.88 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:               $594.00
         Goodwin Lewis, PLLC                                               Check all that apply.
                                                                           ❑ Contingent
         420 Nw 6th St # 2                                                 ❑ Unliquidated
                                                                           ❑ Disputed
         Oklahoma City, OK 73102-2805
                                                                           Basis for the claim: Legal Services
                                                                           Is the claim subject to offset?
         Date or dates debt was incurred                                   ✔ No
                                                                           ❑
         Last 4 digits of account number                                   ❑ Yes
         Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:               $430.00
3.89                                                                       Check all that apply.
         Gordon & Rees
                                                                           ❑ Contingent
         1111 Broadway Ste 1700                                            ❑ Unliquidated
                                                                           ❑ Disputed
         Oakland, CA 94607-4023
                                                                           Basis for the claim: Legal Services
                                                                           Is the claim subject to offset?
         Date or dates debt was incurred                                   ✔ No
                                                                           ❑
         Last 4 digits of account number                                   ❑ Yes
         Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:               $600,000.00
3.90                                                                       Check all that apply.
         Green Capital Funding
                                                                           ✔ Contingent
                                                                           ❑
         116 Nassau Street 8th Floor                                       ✔ Unliquidated
                                                                           ❑
                                                                           ✔ Disputed
                                                                           ❑
         New York, NY 10038
                                                                           Basis for the claim: Money Loaned
                                                                           Is the claim subject to offset?
         Date or dates debt was incurred                                   ✔ No
                                                                           ❑
         Last 4 digits of account number                                   ❑ Yes




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3.91 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:               $162,700.02
         Green Span Profiles                                               Check all that apply.
                                                                           ❑ Contingent
         Po Box 4346 Dept 480                                              ❑ Unliquidated
                                                                           ❑ Disputed
         Houston, TX 77210-4346
                                                                           Basis for the claim: Materials Supplier
                                                                           Is the claim subject to offset?
         Date or dates debt was incurred                                   ✔ No
                                                                           ❑
         Last 4 digits of account number                                   ❑ Yes
3.92 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:               $1,068.00
         GTG Solutions Inc.                                                Check all that apply.
                                                                           ❑ Contingent
         Po Box 490                                                        ❑ Unliquidated
                                                                           ❑ Disputed
         Chico, TX 76431-0490
                                                                           Basis for the claim: Rental Equipment
                                                                           Is the claim subject to offset?
         Date or dates debt was incurred                                   ✔ No
                                                                           ❑
         Last 4 digits of account number                                   ❑ Yes
3.93 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:               $342,629.47
                                                                           Check all that apply.
         H.W. Tucker Co.
                                                                           ✔ Contingent
                                                                           ❑
         1301 E 13th St                                                    ✔ Unliquidated
                                                                           ❑
                                                                           ✔ Disputed
                                                                           ❑
         North Little Rock, AR 72114-3752
                                                                           Basis for the claim: Subcontractor
                                                                           Is the claim subject to offset?
         Date or dates debt was incurred                                   ❑ No
         Last 4 digits of account number
                                                                           ✔ Yes
                                                                           ❑
         Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:               $2,352.50
3.94                                                                       Check all that apply.
         Harlan Electric Company Inc
                                                                           ❑ Contingent
         441 Allied Dr                                                     ❑ Unliquidated
                                                                           ❑ Disputed
         Nashville, TN 37211-3303
                                                                           Basis for the claim: Subcontractor
                                                                           Is the claim subject to offset?
         Date or dates debt was incurred                                   ✔ No
                                                                           ❑
         Last 4 digits of account number                                   ❑ Yes
         Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:               $52,400.00
3.95                                                                       Check all that apply.
         Hattiesburg Demolition, LLC
                                                                           ❑ Contingent
         12 Nicolaus Dr                                                    ❑ Unliquidated
                                                                           ❑ Disputed
         Hattiesburg, MS 39402-8112
                                                                           Basis for the claim: Subcontractor
                                                                           Is the claim subject to offset?
         Date or dates debt was incurred                                   ✔ No
                                                                           ❑
         Last 4 digits of account number                                   ❑ Yes




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3.96     Nonpriority creditor’s name and mailing address                    As of the petition filing date, the claim is:              $6,544.12
         Heartland Door & Frame Inc                                         Check all that apply.
                                                                            ❑ Contingent
         1305 Ne 46th Ave                                                   ❑ Unliquidated
                                                                            ❑ Disputed
         Des Moines, IA 50313-2669
                                                                            Basis for the claim: Materials Supplier
                                                                            Is the claim subject to offset?
         Date or dates debt was incurred                                    ✔ No
                                                                            ❑
         Last 4 digits of account number                                    ❑ Yes
3.97     Nonpriority creditor’s name and mailing address                    As of the petition filing date, the claim is:              $5,404.80
         Heimbuck Disposal Inc.                                             Check all that apply.
                                                                            ❑ Contingent
         Po Box 270310                                                      ❑ Unliquidated
                                                                            ❑ Disputed
         Fort Collins, CO 80527-0310
                                                                            Basis for the claim: Rental Equipment
                                                                            Is the claim subject to offset?
         Date or dates debt was incurred                                    ✔ No
                                                                            ❑
         Last 4 digits of account number                                    ❑ Yes
3.98     Nonpriority creditor’s name and mailing address                    As of the petition filing date, the claim is:              $2,413.05
         Hermitage Tile and Marble                                          Check all that apply.
                                                                            ❑ Contingent
         3388 Earhart Rd                                                    ❑ Unliquidated
                                                                            ❑ Disputed
         Mt Juliet, TN 37122-3726
                                                                            Basis for the claim: Subcontractor
                                                                            Is the claim subject to offset?
         Date or dates debt was incurred                                    ✔ No
                                                                            ❑
         Last 4 digits of account number                                    ❑ Yes
         Nonpriority creditor’s name and mailing address                    As of the petition filing date, the claim is:              $362.34
3.99                                                                        Check all that apply.
         Hometown Building Center
                                                                            ❑ Contingent
         9330 Lyndon B Johnson Fwy Ste 850                                  ❑ Unliquidated
                                                                            ❑ Disputed
         Dallas, TX 75243-3485
                                                                            Basis for the claim: Materials Supplier
                                                                            Is the claim subject to offset?
         Date or dates debt was incurred                                    ✔ No
                                                                            ❑
         Last 4 digits of account number                                    ❑ Yes
         Nonpriority creditor’s name and mailing address                    As of the petition filing date, the claim is:              $3,087.50
3.100                                                                       Check all that apply.
         Howland Engineering
                                                                            ❑ Contingent
         Po Box 451128                                                      ❑ Unliquidated
                                                                            ❑ Disputed
         Laredo, TX 78045-0027
                                                                            Basis for the claim: Subcontractor
                                                                            Is the claim subject to offset?
         Date or dates debt was incurred                                    ✔ No
                                                                            ❑
         Last 4 digits of account number                                    ❑ Yes




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3.101 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:              $2,176.19
         Hum's Rental                                                       Check all that apply.
                                                                            ❑ Contingent
         3901 E Broadway St                                                 ❑ Unliquidated
                                                                            ❑ Disputed
         N Little Rock, AR 72114-6454
                                                                            Basis for the claim: Rental Equipment
                                                                            Is the claim subject to offset?
         Date or dates debt was incurred                                    ✔ No
                                                                            ❑
         Last 4 digits of account number                                    ❑ Yes
3.102 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:              $10,129.27
         Ideal Fire & Security LLC                                          Check all that apply.
                                                                            ❑ Contingent
         6913 Camp Bowie Blvd Ste 181                                       ❑ Unliquidated
                                                                            ❑ Disputed
         Fort Worth, TX 76116-7165
                                                                            Basis for the claim: Subcontractor
                                                                            Is the claim subject to offset?
         Date or dates debt was incurred                                    ✔ No
                                                                            ❑
         Last 4 digits of account number                                    ❑ Yes
3.103 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:              $7,819.91
         ImageNet Consulting LLC                                            Check all that apply.
                                                                            ❑ Contingent
         913 N Broadway Ave                                                 ❑ Unliquidated
                                                                            ❑ Disputed
         Oklahoma City, OK 73102-5810
                                                                            Basis for the claim: Copier Leases
                                                                            Is the claim subject to offset?
         Date or dates debt was incurred                                    ✔ No
                                                                            ❑
         Last 4 digits of account number                                    ❑ Yes
         Nonpriority creditor’s name and mailing address                    As of the petition filing date, the claim is:              $11,000.00
3.104                                                                       Check all that apply.
         Impact Fire
                                                                            ❑ Contingent
         921 W Mayfield Rd Ste 136                                          ❑ Unliquidated
                                                                            ❑ Disputed
         Arlington, TX 76015-3689
                                                                            Basis for the claim: Subcontractor
                                                                            Is the claim subject to offset?
         Date or dates debt was incurred                                    ✔ No
                                                                            ❑
         Last 4 digits of account number                                    ❑ Yes
         Nonpriority creditor’s name and mailing address                    As of the petition filing date, the claim is:              $1,252,780.00
3.105                                                                       Check all that apply.
         Industrial Refrigeration Service
                                                                            ❑ Contingent
         613 SE Magazine Rd                                                 ❑ Unliquidated
                                                                            ❑ Disputed
         Ankeny, IA 50021-3744
                                                                            Basis for the claim: Subcontractor
                                                                            Is the claim subject to offset?
         Date or dates debt was incurred                                    ✔ No
                                                                            ❑
         Last 4 digits of account number                                    ❑ Yes




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3.106 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:              $4,628.24
         Ingersoll Rand                                                     Check all that apply.
                                                                            ❑ Contingent
         800 Beaty St Ste A                                                 ❑ Unliquidated
                                                                            ❑ Disputed
         Davidson, NC 28036-6924
                                                                            Basis for the claim: Materials Supplier
                                                                            Is the claim subject to offset?
         Date or dates debt was incurred                                    ✔ No
                                                                            ❑
         Last 4 digits of account number                                    ❑ Yes
3.107 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:              $65.73
         Innovative Soil Solutions                                          Check all that apply.
                                                                            ❑ Contingent
         Po Box 847411                                                      ❑ Unliquidated
                                                                            ❑ Disputed
         Dallas, TX 75284-7411
                                                                            Basis for the claim: Service Charges
                                                                            Is the claim subject to offset?
         Date or dates debt was incurred                                    ✔ No
                                                                            ❑
         Last 4 digits of account number                                    ❑ Yes
3.108 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:              $3,822.50
         Integrity Framing & Drywall                                        Check all that apply.
                                                                            ❑ Contingent
         3562 Sweet Lee Ln Unit A                                           ❑ Unliquidated
                                                                            ❑ Disputed
         Ponder, TX 76259-8838
                                                                            Basis for the claim: Subcontractor
                                                                            Is the claim subject to offset?
         Date or dates debt was incurred                                    ✔ No
                                                                            ❑
         Last 4 digits of account number                                    ❑ Yes
         Nonpriority creditor’s name and mailing address                    As of the petition filing date, the claim is:              $118,423.32
3.109                                                                       Check all that apply.
         Intercool
                                                                            ❑ Contingent
         1313 Valwood Pkwy Ste 100                                          ❑ Unliquidated
                                                                            ❑ Disputed
         Carrollton, TX 75006-8305
                                                                            Basis for the claim: Subcontractor
                                                                            Is the claim subject to offset?
         Date or dates debt was incurred                                    ✔ No
                                                                            ❑
         Last 4 digits of account number                                    ❑ Yes
         Nonpriority creditor’s name and mailing address                    As of the petition filing date, the claim is:              $2,076.00
3.110                                                                       Check all that apply.
         Iowa Concrete Cutting, Inc
                                                                            ❑ Contingent
         PO Box 87-2738                                                     ❑ Unliquidated
                                                                            ❑ Disputed
         Kansas City, MO 64187-2738
                                                                            Basis for the claim: Subcontractor
                                                                            Is the claim subject to offset?
         Date or dates debt was incurred                                    ✔ No
                                                                            ❑
         Last 4 digits of account number                                    ❑ Yes




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3.111 Nonpriority creditor’s name and mailing address                      As of the petition filing date, the claim is:              $51,870.00
         Iowa Demolition                                                   Check all that apply.
                                                                           ❑ Contingent
         1901 Easton Blvd                                                  ❑ Unliquidated
                                                                           ❑ Disputed
         Des Moines, IA 50316-2733
                                                                            Basis for the claim: Subcontractor
                                                                           Is the claim subject to offset?
         Date or dates debt was incurred                                   ✔ No
                                                                           ❑
         Last 4 digits of account number                                   ❑ Yes
3.112 Nonpriority creditor’s name and mailing address                      As of the petition filing date, the claim is:              $10,960.67
         James Carroll, as agent for Bartos                                Check all that apply.
                                                                           ❑ Contingent
         2001 N Lamar St Ste 540                                           ❑ Unliquidated
                                                                           ❑ Disputed
         Dallas, TX 75202-1736
                                                                            Basis for the claim: Subcontractor
                                                                           Is the claim subject to offset?
         Date or dates debt was incurred                                   ✔ No
                                                                           ❑
         Last 4 digits of account number                                   ❑ Yes
3.113 Nonpriority creditor’s name and mailing address                      As of the petition filing date, the claim is:              $55,759.65
         JAX Engineering Inc.                                              Check all that apply.
                                                                           ❑ Contingent
         Po Box 126541                                                     ❑ Unliquidated
                                                                           ❑ Disputed
         Benbrook, TX 76126-6541
                                                                            Basis for the claim: Engineering Services
                                                                           Is the claim subject to offset?
         Date or dates debt was incurred                                   ✔ No
                                                                           ❑
         Last 4 digits of account number                                   ❑ Yes
         Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $36,030.00
3.114                                                                      Check all that apply.
         JM Concrete Construction Inc
                                                                           ❑ Contingent
         1616 E Atlanta Rd                                                 ❑ Unliquidated
                                                                           ❑ Disputed
         Stockbridge, GA 30281-1318
                                                                            Basis for the claim: Subcontractor
                                                                           Is the claim subject to offset?
         Date or dates debt was incurred                                   ✔ No
                                                                           ❑
         Last 4 digits of account number                                   ❑ Yes
         Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $6,560.00
3.115                                                                      Check all that apply.
         Joe Braga
                                                                           ❑ Contingent
         4334 N 143rd St                                                   ❑ Unliquidated
                                                                           ❑ Disputed
         Omaha, NE 68164-5054
                                                                            Basis for the claim: Money Loaned
                                                                           Is the claim subject to offset?
         Date or dates debt was incurred                                   ✔ No
                                                                           ❑
         Last 4 digits of account number                                   ❑ Yes




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3.116 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:              $403.69
         Johnny on the Spot                                                 Check all that apply.
                                                                            ❑ Contingent
         1410 Shadow Ln                                                     ❑ Unliquidated
                                                                            ❑ Disputed
         Dodge City, KS 67801-2954
                                                                            Basis for the claim: Rental Equipment
                                                                            Is the claim subject to offset?
         Date or dates debt was incurred                                    ✔ No
                                                                            ❑
         Last 4 digits of account number                                    ❑ Yes
3.117 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:              $10,000.00
         JonCo Plumbing                                                     Check all that apply.
                                                                            ❑ Contingent
         4113 Black Oak Dr                                                  ❑ Unliquidated
                                                                            ❑ Disputed
         Cleburne, TX 76031-0199
                                                                            Basis for the claim: Subcontractor
                                                                            Is the claim subject to offset?
         Date or dates debt was incurred                                    ✔ No
                                                                            ❑
         Last 4 digits of account number                                    ❑ Yes
3.118 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:              $2,513.00
         K&C Pipe & Supply Inc                                              Check all that apply.
                                                                            ❑ Contingent
         Po Box 2519                                                        ❑ Unliquidated
                                                                            ❑ Disputed
         Azle, TX 76098-2519
                                                                            Basis for the claim: Office Supplies
                                                                            Is the claim subject to offset?
         Date or dates debt was incurred                                    ✔ No
                                                                            ❑
         Last 4 digits of account number                                    ❑ Yes
         Nonpriority creditor’s name and mailing address                    As of the petition filing date, the claim is:              $0.00
3.119                                                                       Check all that apply.
         Kabbage, Inc.
                                                                            ✔ Contingent
                                                                            ❑
         c/o Corporation Service Company                                    ✔ Unliquidated
                                                                            ❑
                                                                            ✔ Disputed
                                                                            ❑
         251 Little Falls Drive                                             Basis for the claim: Money Loaned
         Wilmington, DE 19808                                               Is the claim subject to offset?
                                                                            ✔ No
                                                                            ❑
                                                                            ❑ Yes
         Date or dates debt was incurred

         Last 4 digits of account number

         Nonpriority creditor’s name and mailing address                    As of the petition filing date, the claim is:              $48,335.58
3.120                                                                       Check all that apply.
         Kalman Floor Company, Inc.
                                                                            ❑ Contingent
         15710 W Colfax Ave Ste 202                                         ❑ Unliquidated
                                                                            ❑ Disputed
         Golden, CO 80401-7405
                                                                            Basis for the claim: Subcontractor
                                                                            Is the claim subject to offset?
         Date or dates debt was incurred                                    ✔ No
                                                                            ❑
         Last 4 digits of account number                                    ❑ Yes




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3.121 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:              $250.00
         Kansas Attorney General                                            Check all that apply.
                                                                            ❑ Contingent
         120 Sw 10th Ave Fl 2                                               ❑ Unliquidated
                                                                            ❑ Disputed
         Topeka, KS 66612-1237
                                                                            Basis for the claim: Licensing
                                                                            Is the claim subject to offset?
         Date or dates debt was incurred                                    ✔ No
                                                                            ❑
         Last 4 digits of account number                                    ❑ Yes
3.122 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:              $5,000.00
         KB Phoenix Division One LLC                                        Check all that apply.
                                                                            ❑ Contingent
         Po Box 2689                                                        ❑ Unliquidated
                                                                            ❑ Disputed
         Fredericksbrg, TX 78624-1911
                                                                            Basis for the claim: Contract
                                                                            Is the claim subject to offset?
         Date or dates debt was incurred                                    ❑ No
         Last 4 digits of account number
                                                                            ✔ Yes
                                                                            ❑
3.123 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:              $50,000.00
         Kenneth Johnson, JR                                                Check all that apply.
                                                                            ❑ Contingent
         206 Lancelot Dr                                                    ❑ Unliquidated
                                                                            ❑ Disputed
         Weatherford, TX 76086-5936
                                                                            Basis for the claim: Money Loaned
                                                                            Is the claim subject to offset?
         Date or dates debt was incurred                                    ✔ No
                                                                            ❑
         Last 4 digits of account number                                    ❑ Yes
         Nonpriority creditor’s name and mailing address                    As of the petition filing date, the claim is:              $142,734.91
3.124                                                                       Check all that apply.
         Kingspan Insulated Panels Inc.
                                                                            ❑ Contingent
         PO Box 74004848                                                    ❑ Unliquidated
                                                                            ❑ Disputed
         Chicago, IL 60674-4848
                                                                            Basis for the claim: Materials Supplier
                                                                            Is the claim subject to offset?
         Date or dates debt was incurred                                    ✔ No
                                                                            ❑
         Last 4 digits of account number                                    ❑ Yes
         Nonpriority creditor’s name and mailing address                    As of the petition filing date, the claim is:              $2,148.75
3.125                                                                       Check all that apply.
         Lafferty Equipment Manufacture
                                                                            ❑ Contingent
         5614 Oak Grove Rd                                                  ❑ Unliquidated
                                                                            ❑ Disputed
         N Little Rock, AR 72118-1955
                                                                            Basis for the claim: Materials Supplier
                                                                            Is the claim subject to offset?
         Date or dates debt was incurred                                    ✔ No
                                                                            ❑
         Last 4 digits of account number                                    ❑ Yes




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3.126 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:              $4,400.00
         Laramie Crane Company                                              Check all that apply.
                                                                            ❑ Contingent
         Po Box 1515                                                        ❑ Unliquidated
                                                                            ❑ Disputed
         La Porte, TX 77572-1515
                                                                            Basis for the claim: Subcontractor
                                                                            Is the claim subject to offset?
         Date or dates debt was incurred                                    ✔ No
                                                                            ❑
         Last 4 digits of account number                                    ❑ Yes
3.127 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:              $29,065.42
         Leum Engineering Inc.                                              Check all that apply.
                                                                            ❑ Contingent
         12400 Whitewater Dr Ste 110                                        ❑ Unliquidated
                                                                            ❑ Disputed
         Minnetonka, MN 55343-4161
                                                                            Basis for the claim: Materials Supplier
                                                                            Is the claim subject to offset?
         Date or dates debt was incurred                                    ✔ No
                                                                            ❑
         Last 4 digits of account number                                    ❑ Yes
3.128 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:              $14,212.30
         Liberty Ready Mix                                                  Check all that apply.
                                                                            ❑ Contingent
         12012 Ridgemont Dr                                                 ❑ Unliquidated
                                                                            ❑ Disputed
         Urbandale, IA 50323-2317
                                                                            Basis for the claim: Materials Supplier
                                                                            Is the claim subject to offset?
         Date or dates debt was incurred                                    ✔ No
                                                                            ❑
         Last 4 digits of account number                                    ❑ Yes
         Nonpriority creditor’s name and mailing address                    As of the petition filing date, the claim is:              $7,900.00
3.129                                                                       Check all that apply.
         Lockers By Design
                                                                            ❑ Contingent
         Po Box 157                                                         ❑ Unliquidated
                                                                            ❑ Disputed
         Sumter, SC 29151-0157
                                                                            Basis for the claim: Materials Supplier
                                                                            Is the claim subject to offset?
         Date or dates debt was incurred                                    ✔ No
                                                                            ❑
         Last 4 digits of account number                                    ❑ Yes
         Nonpriority creditor’s name and mailing address                    As of the petition filing date, the claim is:              $114,588.99
3.130                                                                       Check all that apply.
         Lowery Wholesale
                                                                            ❑ Contingent
         Po Box 130                                                         ❑ Unliquidated
                                                                            ❑ Disputed
         Paradise, TX 76073-0130
                                                                            Basis for the claim: Materials Supplier
                                                                            Is the claim subject to offset?
         Date or dates debt was incurred                                    ✔ No
                                                                            ❑
         Last 4 digits of account number                                    ❑ Yes




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3.131 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:              $2,233.76
         M3 Disposal                                                        Check all that apply.
                                                                            ❑ Contingent
         Po Box 1296                                                        ❑ Unliquidated
                                                                            ❑ Disputed
         Aledo, TX 76008-1296
                                                                            Basis for the claim: Rental Equipment
                                                                            Is the claim subject to offset?
         Date or dates debt was incurred                                    ✔ No
                                                                            ❑
         Last 4 digits of account number                                    ❑ Yes
3.132 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:              $55,246.93
         Martinson Construction                                             Check all that apply.
                                                                            ❑ Contingent
         3842 W Airline Hwy                                                 ❑ Unliquidated
                                                                            ❑ Disputed
         Waterloo, IA 50703-9597
                                                                            Basis for the claim: Subcontractor
                                                                            Is the claim subject to offset?
         Date or dates debt was incurred                                    ✔ No
                                                                            ❑
         Last 4 digits of account number                                    ❑ Yes
3.133 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:              $4,614.00
         McClure Engineering Company                                        Check all that apply.
                                                                            ❑ Contingent
         1360 Nw 121st St                                                   ❑ Unliquidated
                                                                            ❑ Disputed
         Clive, IA 50325-8165
                                                                            Basis for the claim: Engineering Services
                                                                            Is the claim subject to offset?
         Date or dates debt was incurred                                    ✔ No
                                                                            ❑
         Last 4 digits of account number                                    ❑ Yes
         Nonpriority creditor’s name and mailing address                    As of the petition filing date, the claim is:              $239.89
3.134                                                                       Check all that apply.
         McGraw Gotta Go, LLC
                                                                            ❑ Contingent
         Po Box 267                                                         ❑ Unliquidated
                                                                            ❑ Disputed
         Flora, MS 39071-0267
                                                                            Basis for the claim: Rental Equipment
                                                                            Is the claim subject to offset?
         Date or dates debt was incurred                                    ✔ No
                                                                            ❑
         Last 4 digits of account number                                    ❑ Yes
         Nonpriority creditor’s name and mailing address                    As of the petition filing date, the claim is:              $3,812.50
3.135                                                                       Check all that apply.
         MCI USA Holding Company
                                                                            ❑ Contingent
         Po Box 829914                                                      ❑ Unliquidated
                                                                            ❑ Disputed
         Philadelphia, PA 19182-1914
                                                                            Basis for the claim: Advertising
                                                                            Is the claim subject to offset?
         Date or dates debt was incurred                                    ✔ No
                                                                            ❑
         Last 4 digits of account number                                    ❑ Yes




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3.136 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:              $1,022,907.35
         McNeil Industrial, Inc                                             Check all that apply.
                                                                            ❑ Contingent
         8425 Madison Street                                                ❑ Unliquidated
                                                                            ❑ Disputed
         Omaha, NE 68127
                                                                            Basis for the claim: Subcontractor
                                                                            Is the claim subject to offset?
         Date or dates debt was incurred                                    ✔ No
                                                                            ❑
         Last 4 digits of account number                                    ❑ Yes
3.137 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:              $388.66
         Metropolitan Utilities Distr                                       Check all that apply.
                                                                            ❑ Contingent
         Po Box 3600                                                        ❑ Unliquidated
                                                                            ❑ Disputed
         Omaha, NE 68103-0600
                                                                            Basis for the claim: Utility
                                                                            Is the claim subject to offset?
         Date or dates debt was incurred                                    ✔ No
                                                                            ❑
         Last 4 digits of account number                                    ❑ Yes
3.138 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:              $11,298.00
         MetroPower Inc.                                                    Check all that apply.
                                                                            ❑ Contingent
         Po Box 5228                                                        ❑ Unliquidated
                                                                            ❑ Disputed
         Albany, GA 31706-5228
                                                                            Basis for the claim: Subcontractor
                                                                            Is the claim subject to offset?
         Date or dates debt was incurred                                    ✔ No
                                                                            ❑
         Last 4 digits of account number                                    ❑ Yes
         Nonpriority creditor’s name and mailing address                    As of the petition filing date, the claim is:              $120,578.46
3.139                                                                       Check all that apply.
         MHC Systems
                                                                            ❑ Contingent
         2200 S Old Missouri Rd Ste A                                       ❑ Unliquidated
                                                                            ❑ Disputed
         Springdale, AR 72764-8719
                                                                            Basis for the claim: Subcontractor
                                                                            Is the claim subject to offset?
         Date or dates debt was incurred                                    ✔ No
                                                                            ❑
         Last 4 digits of account number                                    ❑ Yes
         Nonpriority creditor’s name and mailing address                    As of the petition filing date, the claim is:              $630.63
3.140                                                                       Check all that apply.
         MidAmerican Energy Services
                                                                            ❑ Contingent
         Po Box 8020                                                        ❑ Unliquidated
                                                                            ❑ Disputed
         Davenport, IA 52808-8020
                                                                            Basis for the claim: Utility
                                                                            Is the claim subject to offset?
         Date or dates debt was incurred                                    ✔ No
                                                                            ❑
         Last 4 digits of account number                                    ❑ Yes




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3.141 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:              $44,849.20
         Midsouth Mechanical Inc                                            Check all that apply.
                                                                            ❑ Contingent
         Po Box 1283                                                        ❑ Unliquidated
                                                                            ❑ Disputed
         Lagrange, GA 30241-0025
                                                                            Basis for the claim: Subcontractor
                                                                            Is the claim subject to offset?
         Date or dates debt was incurred                                    ✔ No
                                                                            ❑
         Last 4 digits of account number                                    ❑ Yes
3.142 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:              $7,780.00
         Midwest Testing Services In                                        Check all that apply.
                                                                            ❑ Contingent
         3705 Progress Blvd                                                 ❑ Unliquidated
                                                                            ❑ Disputed
         Peru, IL 61354-1185
                                                                            Basis for the claim: Subcontractor
                                                                            Is the claim subject to offset?
         Date or dates debt was incurred                                    ✔ No
                                                                            ❑
         Last 4 digits of account number                                    ❑ Yes
3.143 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:              $87,980.00
                                                                            Check all that apply.
         Midwest Wrecking
                                                                            ✔ Contingent
                                                                            ❑
         Po Box 14668                                                       ✔ Unliquidated
                                                                            ❑
                                                                            ✔ Disputed
                                                                            ❑
         Oklahoma City, OK 73113-0668
                                                                            Basis for the claim: Subcontractor
                                                                            Is the claim subject to offset?
         Date or dates debt was incurred                                    ✔ No
                                                                            ❑
         Last 4 digits of account number                                    ❑ Yes
         Nonpriority creditor’s name and mailing address                    As of the petition filing date, the claim is:              $3,912.17
3.144                                                                       Check all that apply.
         Miner Ltd
                                                                            ❑ Contingent
         10761 King William Dr                                              ❑ Unliquidated
                                                                            ❑ Disputed
         Dallas, TX 75220-2445
                                                                            Basis for the claim: Subcontractor
                                                                            Is the claim subject to offset?
         Date or dates debt was incurred                                    ✔ No
                                                                            ❑
         Last 4 digits of account number                                    ❑ Yes
         Nonpriority creditor’s name and mailing address                    As of the petition filing date, the claim is:              $1,537.10
3.145                                                                       Check all that apply.
         Mobile Mini
                                                                            ❑ Contingent
         Po Box 650882                                                      ❑ Unliquidated
                                                                            ❑ Disputed
         Dallas, TX 75265-0882
                                                                            Basis for the claim: Rental Equipment
                                                                            Is the claim subject to offset?
         Date or dates debt was incurred                                    ✔ No
                                                                            ❑
         Last 4 digits of account number                                    ❑ Yes




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3.146 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:              $30,353.80
         Murphy Berry                                                       Check all that apply.
                                                                            ❑ Contingent
         2910 Ashley Dr                                                     ❑ Unliquidated
                                                                            ❑ Disputed
         Conway, AR 72034-7335
                                                                            Basis for the claim: Subcontractor
                                                                            Is the claim subject to offset?
         Date or dates debt was incurred                                    ✔ No
                                                                            ❑
         Last 4 digits of account number                                    ❑ Yes
3.147 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:              $85,069.70
         Nabco                                                              Check all that apply.
                                                                            ❑ Contingent
         1750 S Amity Rd                                                    ❑ Unliquidated
                                                                            ❑ Disputed
         Conway, AR 72032-9097
                                                                            Basis for the claim: Subcontractor
                                                                            Is the claim subject to offset?
         Date or dates debt was incurred                                    ✔ No
                                                                            ❑
         Last 4 digits of account number                                    ❑ Yes
3.148 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:              $595,516.06
                                                                            Check all that apply.
         Needham DBS
                                                                            ✔ Contingent
                                                                            ❑
         15950 College Blvd                                                 ✔ Unliquidated
                                                                            ❑
                                                                            ✔ Disputed
                                                                            ❑
         Lenexa, KS 66219-1369
                                                                            Basis for the claim: Subcontractor
                                                                            Is the claim subject to offset?
         Date or dates debt was incurred                                    ✔ No
                                                                            ❑
         Last 4 digits of account number                                    ❑ Yes
         Nonpriority creditor’s name and mailing address                    As of the petition filing date, the claim is:              $8,623.13
3.149                                                                       Check all that apply.
         North West Handling Systems, In
                                                                            ❑ Contingent
         Po Box 749891                                                      ❑ Unliquidated
                                                                            ❑ Disputed
         Los Angeles, CA 90074-9891
                                                                            Basis for the claim: Materials Supplier
                                                                            Is the claim subject to offset?
         Date or dates debt was incurred                                    ✔ No
                                                                            ❑
         Last 4 digits of account number                                    ❑ Yes
         Nonpriority creditor’s name and mailing address                    As of the petition filing date, the claim is:              $21,846.87
3.150                                                                       Check all that apply.
         Northend Disposal
                                                                            ❑ Contingent
         1108 E Trail St                                                    ❑ Unliquidated
                                                                            ❑ Disputed
         Dodge City, KS 67801-9062
                                                                            Basis for the claim: Rental Equipment
                                                                            Is the claim subject to offset?
         Date or dates debt was incurred                                    ✔ No
                                                                            ❑
         Last 4 digits of account number                                    ❑ Yes




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3.151 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:              $0.00
         Norton Home Improvement Co,Inc                                     Check all that apply.
                                                                            ❑ Contingent
         3367 S Us Highway 441 Ste 101                                      ❑ Unliquidated
                                                                            ❑ Disputed
         Lake City, FL 32025-0209
                                                                            Basis for the claim: Subcontractor
                                                                            Is the claim subject to offset?
         Date or dates debt was incurred                                    ✔ No
                                                                            ❑
         Last 4 digits of account number                                    ❑ Yes
3.152 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:              $24,200.00
         O'Connor Ranch                                                     Check all that apply.
                                                                            ❑ Contingent
         173 County Road 3850                                               ❑ Unliquidated
                                                                            ❑ Disputed
         Poolville, TX 76487-2315
                                                                            Basis for the claim: Property Maintenance
                                                                            Is the claim subject to offset?
         Date or dates debt was incurred                                    ✔ No
                                                                            ❑
         Last 4 digits of account number                                    ❑ Yes
3.153 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:              $506.40
         Omaha Public Power District                                        Check all that apply.
                                                                            ❑ Contingent
         Po Box 3995                                                        ❑ Unliquidated
                                                                            ❑ Disputed
         Omaha, NE 68103-0995
                                                                            Basis for the claim: Utility
                                                                            Is the claim subject to offset?
         Date or dates debt was incurred                                    ✔ No
                                                                            ❑
         Last 4 digits of account number                                    ❑ Yes
         Nonpriority creditor’s name and mailing address                    As of the petition filing date, the claim is:              $10,187.00
3.154                                                                       Check all that apply.
         Overhead Door Co of Dallas
                                                                            ❑ Contingent
         10761 King William Dr                                              ❑ Unliquidated
                                                                            ❑ Disputed
         Dallas, TX 75220-2445
                                                                            Basis for the claim: Materials Supplier
                                                                            Is the claim subject to offset?
         Date or dates debt was incurred                                    ✔ No
                                                                            ❑
         Last 4 digits of account number                                    ❑ Yes
         Nonpriority creditor’s name and mailing address                    As of the petition filing date, the claim is:              $6,000.00
3.155                                                                       Check all that apply.
         Overhead Door Fort Worth
                                                                            ❑ Contingent
         840 Southway Cir                                                   ❑ Unliquidated
                                                                            ❑ Disputed
         Fort Worth, TX 76115-4008
                                                                            Basis for the claim: Materials Supplier
                                                                            Is the claim subject to offset?
         Date or dates debt was incurred                                    ✔ No
                                                                            ❑
         Last 4 digits of account number                                    ❑ Yes




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3.156 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:              $48,984.42
         Passport Door & Dock Systems                                       Check all that apply.
                                                                            ❑ Contingent
         45 Fish Dr                                                         ❑ Unliquidated
                                                                            ❑ Disputed
         Angier, NC 27501-6088
                                                                            Basis for the claim: Subcontractor
                                                                            Is the claim subject to offset?
         Date or dates debt was incurred                                    ✔ No
                                                                            ❑
         Last 4 digits of account number                                    ❑ Yes
3.157 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:              $105,851.00
         Patriot Fire Protection, Inc                                       Check all that apply.
                                                                            ❑ Contingent
         2707 70th Ave E                                                    ❑ Unliquidated
                                                                            ❑ Disputed
         Tacoma, WA 98424-3642
                                                                            Basis for the claim: Subcontractor
                                                                            Is the claim subject to offset?
         Date or dates debt was incurred                                    ✔ No
                                                                            ❑
         Last 4 digits of account number                                    ❑ Yes
3.158 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:              $108,054.71
         Paul & Amy O'Connor                                                Check all that apply.
                                                                            ❑ Contingent
         173 County Road 3850                                               ❑ Unliquidated
                                                                            ❑ Disputed
         Poolville, TX 76487-2315
                                                                            Basis for the claim: Expense Reimbursements
                                                                            Is the claim subject to offset?
         Date or dates debt was incurred                                    ✔ No
                                                                            ❑
         Last 4 digits of account number                                    ❑ Yes
         Nonpriority creditor’s name and mailing address                    As of the petition filing date, the claim is:              $4,500.00
3.159                                                                       Check all that apply.
         Pennington Concrete Construction
                                                                            ❑ Contingent
         13350 Euless St                                                    ❑ Unliquidated
                                                                            ❑ Disputed
         Euless, TX 76040-7225
                                                                            Basis for the claim: Subcontractor
                                                                            Is the claim subject to offset?
         Date or dates debt was incurred                                    ✔ No
                                                                            ❑
         Last 4 digits of account number                                    ❑ Yes
         Nonpriority creditor’s name and mailing address                    As of the petition filing date, the claim is:              $2,665.49
3.160                                                                       Check all that apply.
         PeopleReady Inc.
                                                                            ❑ Contingent
         Po Box 676412                                                      ❑ Unliquidated
                                                                            ❑ Disputed
         Dallas, TX 75267-6412
                                                                            Basis for the claim: Subcontractor
                                                                            Is the claim subject to offset?
         Date or dates debt was incurred                                    ✔ No
                                                                            ❑
         Last 4 digits of account number                                    ❑ Yes




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3.161 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:              $9,640.73
         Peterson Contractors                                               Check all that apply.
                                                                            ❑ Contingent
         Po Box A                                                           ❑ Unliquidated
                                                                            ❑ Disputed
         Reinbeck, IA 50669-0155
                                                                            Basis for the claim: Subcontractor
                                                                            Is the claim subject to offset?
         Date or dates debt was incurred                                    ✔ No
                                                                            ❑
         Last 4 digits of account number                                    ❑ Yes
3.162 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:              $1,250.00
         Pezzetti Erosion Control Inc                                       Check all that apply.
                                                                            ❑ Contingent
         7300 Westown Pkwy Ste 310                                          ❑ Unliquidated
                                                                            ❑ Disputed
         Wdm, IA 50266-2527
                                                                            Basis for the claim: Subcontractor
                                                                            Is the claim subject to offset?
         Date or dates debt was incurred                                    ✔ No
                                                                            ❑
         Last 4 digits of account number                                    ❑ Yes
3.163 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:              $107.38
         Pot-O-Gold Waste Services                                          Check all that apply.
                                                                            ❑ Contingent
         Po Box 1627                                                        ❑ Unliquidated
                                                                            ❑ Disputed
         Hammond, LA 70404-1627
                                                                            Basis for the claim: Rental Equipment
                                                                            Is the claim subject to offset?
         Date or dates debt was incurred                                    ✔ No
                                                                            ❑
         Last 4 digits of account number                                    ❑ Yes
         Nonpriority creditor’s name and mailing address                    As of the petition filing date, the claim is:              $1,533.00
3.164                                                                       Check all that apply.
         Precision Environmental Service
                                                                            ❑ Contingent
         6104 Cedar Sage Trl                                                ❑ Unliquidated
                                                                            ❑ Disputed
         Argyle, TX 76226-7810
                                                                            Basis for the claim: Subcontractor
                                                                            Is the claim subject to offset?
         Date or dates debt was incurred                                    ✔ No
                                                                            ❑
         Last 4 digits of account number                                    ❑ Yes
         Nonpriority creditor’s name and mailing address                    As of the petition filing date, the claim is:              $87,906.61
3.165                                                                       Check all that apply.
         Professional Diversified Floor
                                                                            ❑ Contingent
         4 Vanderbilt Unit A                                                ❑ Unliquidated
                                                                            ❑ Disputed
         Irvine, CA 92618-2035
                                                                            Basis for the claim: Subcontractor
                                                                            Is the claim subject to offset?
         Date or dates debt was incurred                                    ✔ No
                                                                            ❑
         Last 4 digits of account number                                    ❑ Yes




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3.166 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:              $137,795.43
         Providential Fabricators In                                        Check all that apply.
                                                                            ❑ Contingent
         Po Box 13126                                                       ❑ Unliquidated
                                                                            ❑ Disputed
         Memphis, TN 38113-0126
                                                                            Basis for the claim: Subcontractor
                                                                            Is the claim subject to offset?
         Date or dates debt was incurred                                    ✔ No
                                                                            ❑
         Last 4 digits of account number                                    ❑ Yes
3.167 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:              $270.63
         Ragle Glass & Mirror LLC.                                          Check all that apply.
                                                                            ❑ Contingent
         2399 N Fm 51 Unit 110                                              ❑ Unliquidated
                                                                            ❑ Disputed
         Weatherford, TX 76085-6815
                                                                            Basis for the claim: Subcontractor
                                                                            Is the claim subject to offset?
         Date or dates debt was incurred                                    ✔ No
                                                                            ❑
         Last 4 digits of account number                                    ❑ Yes
3.168 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:              $5,208.99
         Republic Services                                                  Check all that apply.
                                                                            ❑ Contingent
         Po Box 78829                                                       ❑ Unliquidated
                                                                            ❑ Disputed
         Phoenix, AZ 85062-8829
                                                                            Basis for the claim: Subcontractor
                                                                            Is the claim subject to offset?
         Date or dates debt was incurred                                    ✔ No
                                                                            ❑
         Last 4 digits of account number                                    ❑ Yes
         Nonpriority creditor’s name and mailing address                    As of the petition filing date, the claim is:              $3,255.96
3.169                                                                       Check all that apply.
         Residence Inn - NLR
                                                                            ❑ Contingent
         4110 Health Care Dr                                                ❑ Unliquidated
                                                                            ❑ Disputed
         N Little Rock, AR 72117-2919
                                                                            Basis for the claim: Subcontractor
                                                                            Is the claim subject to offset?
         Date or dates debt was incurred                                    ✔ No
                                                                            ❑
         Last 4 digits of account number                                    ❑ Yes
         Nonpriority creditor’s name and mailing address                    As of the petition filing date, the claim is:              $4,584.00
3.170                                                                       Check all that apply.
         Resolve Automation
                                                                            ❑ Contingent
         102 Pine St                                                        ❑ Unliquidated
                                                                            ❑ Disputed
         Black Creek, WI 54106-9587
                                                                            Basis for the claim: Subcontractor
                                                                            Is the claim subject to offset?
         Date or dates debt was incurred                                    ✔ No
                                                                            ❑
         Last 4 digits of account number                                    ❑ Yes




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3.171 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:              $4,595.55
         Richard Meek Air Conditioning                                      Check all that apply.
                                                                            ❑ Contingent
         117 Henrietta St                                                   ❑ Unliquidated
                                                                            ❑ Disputed
         Wichita Falls, TX 76301-7024
                                                                            Basis for the claim: Subcontractor
                                                                            Is the claim subject to offset?
         Date or dates debt was incurred                                    ✔ No
                                                                            ❑
         Last 4 digits of account number                                    ❑ Yes
3.172 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:              $21,175.00
         Robinson Manufacturing, Inc                                        Check all that apply.
                                                                            ❑ Contingent
         7431 E State St # 304                                              ❑ Unliquidated
                                                                            ❑ Disputed
         Rockford, IL 61108-2678
                                                                            Basis for the claim: Subcontractor
                                                                            Is the claim subject to offset?
         Date or dates debt was incurred                                    ✔ No
                                                                            ❑
         Last 4 digits of account number                                    ❑ Yes
3.173 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:              $18,200.00
         Roldan Construction                                                Check all that apply.
                                                                            ❑ Contingent
         1528 12th St                                                       ❑ Unliquidated
                                                                            ❑ Disputed
         Des Moines, IA 50316
                                                                            Basis for the claim: Subcontractor
                                                                            Is the claim subject to offset?
         Date or dates debt was incurred                                    ✔ No
                                                                            ❑
         Last 4 digits of account number                                    ❑ Yes
         Nonpriority creditor’s name and mailing address                    As of the petition filing date, the claim is:              $77,302.00
3.174                                                                       Check all that apply.
         Royal E Construction, LLC
                                                                            ❑ Contingent
         703 Garnet Dr                                                      ❑ Unliquidated
                                                                            ❑ Disputed
         Laredo, TX 78045-6314
                                                                            Basis for the claim: Subcontractor
                                                                            Is the claim subject to offset?
         Date or dates debt was incurred                                    ✔ No
                                                                            ❑
         Last 4 digits of account number                                    ❑ Yes
         Nonpriority creditor’s name and mailing address                    As of the petition filing date, the claim is:              $975.00
3.175                                                                       Check all that apply.
         RPS Inc
                                                                            ❑ Contingent
         3012 Enterprise St                                                 ❑ Unliquidated
                                                                            ❑ Disputed
         Costa Mesa, CA
                                                                            Basis for the claim: Subcontractor
                                                                            Is the claim subject to offset?
         Date or dates debt was incurred                                    ✔ No
                                                                            ❑
         Last 4 digits of account number                                    ❑ Yes




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3.176 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:              $67,470.00
         RSP Architects LTD                                                 Check all that apply.
                                                                            ❑ Contingent
         Po Box 860682                                                      ❑ Unliquidated
                                                                            ❑ Disputed
         Minneapolis, MN 55486-0606
                                                                                                 Architectural/Engineering
                                                                            Basis for the claim: Services
         Date or dates debt was incurred                                    Is the claim subject to offset?
                                                                            ✔ No
                                                                            ❑
         Last 4 digits of account number
                                                                            ❑ Yes
3.177 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:              $4,960.00
         RVD Construction                                                   Check all that apply.
                                                                            ❑ Contingent
         208 Daisy Ln                                                       ❑ Unliquidated
                                                                            ❑ Disputed
         Laredo, TX 78046-5111
                                                                            Basis for the claim: Subcontractor
                                                                            Is the claim subject to offset?
         Date or dates debt was incurred                                    ✔ No
                                                                            ❑
         Last 4 digits of account number                                    ❑ Yes
3.178 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:              $108,550.94
         Rytec Corporation                                                  Check all that apply.
                                                                            ❑ Contingent
         Po Box 403                                                         ❑ Unliquidated
                                                                            ❑ Disputed
         Jackson, WI 53037-0403
                                                                            Basis for the claim: Subcontractor
                                                                            Is the claim subject to offset?
         Date or dates debt was incurred                                    ✔ No
                                                                            ❑
         Last 4 digits of account number                                    ❑ Yes
         Nonpriority creditor’s name and mailing address                    As of the petition filing date, the claim is:              $1,562.20
3.179                                                                       Check all that apply.
         Sassman Glass & Mirror LLC
                                                                            ❑ Contingent
         4455 Nw 6th Dr                                                     ❑ Unliquidated
                                                                            ❑ Disputed
         Des Moines, IA 50313-2211
                                                                            Basis for the claim: Subcontractor
                                                                            Is the claim subject to offset?
         Date or dates debt was incurred                                    ✔ No
                                                                            ❑
         Last 4 digits of account number                                    ❑ Yes
         Nonpriority creditor’s name and mailing address                    As of the petition filing date, the claim is:              $4,648.15
3.180                                                                       Check all that apply.
         Satellite Shelters, Inc
                                                                            ❑ Contingent
         Po Box 860700                                                      ❑ Unliquidated
                                                                            ❑ Disputed
         Minneapolis, MN 55486-0606
                                                                            Basis for the claim: Rental Equipment
                                                                            Is the claim subject to offset?
         Date or dates debt was incurred                                    ✔ No
                                                                            ❑
         Last 4 digits of account number                                    ❑ Yes




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3.181 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:              unknown
                                                                            Check all that apply.
         Scout Cold Storage Dallas, LLC
                                                                            ✔ Contingent
                                                                            ❑
         2655 LeJeune Road, P2E                                             ✔ Unliquidated
                                                                            ❑
                                                                            ✔ Disputed
                                                                            ❑
         Miami, FL 33134
                                                                            Basis for the claim: Breach of Contract
                                                                            Is the claim subject to offset?
         Date or dates debt was incurred                                    ✔ No
                                                                            ❑
         Last 4 digits of account number                                    ❑ Yes
3.182 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:              $513.50
         Sealant Solution                                                   Check all that apply.
                                                                            ❑ Contingent
         1079 W Round Grove Rd Ste 30                                       ❑ Unliquidated
                                                                            ❑ Disputed
         Lewisville, TX 75067-7905
                                                                            Basis for the claim: Subcontractor
                                                                            Is the claim subject to offset?
         Date or dates debt was incurred                                    ✔ No
                                                                            ❑
         Last 4 digits of account number                                    ❑ Yes
3.183 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:              $117,933.05
         Sea-Tac Electric                                                   Check all that apply.
                                                                            ❑ Contingent
         7056 S 220th St                                                    ❑ Unliquidated
                                                                            ✔ Disputed
                                                                            ❑
         Kent, WA 98032-1910
                                                                            Basis for the claim: Subcontractor
                                                                            Is the claim subject to offset?
         Date or dates debt was incurred                                    ✔ No
                                                                            ❑
         Last 4 digits of account number                                    ❑ Yes
         Nonpriority creditor’s name and mailing address                    As of the petition filing date, the claim is:              $72,000.00
3.184                                                                       Check all that apply.
         Shambaugh & Son
                                                                            ❑ Contingent
         7614 Opportunity Dr                                                ❑ Unliquidated
                                                                            ❑ Disputed
         Fort Wayne, IN 46825-3363
                                                                            Basis for the claim: Subcontractor
                                                                            Is the claim subject to offset?
         Date or dates debt was incurred                                    ✔ No
                                                                            ❑
         Last 4 digits of account number                                    ❑ Yes
         Nonpriority creditor’s name and mailing address                    As of the petition filing date, the claim is:              $11,750.00
3.185                                                                       Check all that apply.
         South County Interiors Inc
                                                                            ❑ Contingent
         699 S State College Blvd                                           ❑ Unliquidated
                                                                            ❑ Disputed
         Fullerton, CA 92831-5135
                                                                            Basis for the claim: Subcontractor
                                                                            Is the claim subject to offset?
         Date or dates debt was incurred                                    ✔ No
                                                                            ❑
         Last 4 digits of account number                                    ❑ Yes




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3.186 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:              $38,500.27
         Southern Dock Products                                             Check all that apply.
                                                                            ❑ Contingent
         Po Box 840602                                                      ❑ Unliquidated
                                                                            ❑ Disputed
         Dallas, TX 75284-0602
                                                                            Basis for the claim: Subcontractor
                                                                            Is the claim subject to offset?
         Date or dates debt was incurred                                    ✔ No
                                                                            ❑
         Last 4 digits of account number                                    ❑ Yes
3.187 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:              $248.98
         Southern Sanitation                                                Check all that apply.
                                                                            ❑ Contingent
         Po Box 333                                                         ❑ Unliquidated
                                                                            ❑ Disputed
         Laredo, TX 78042-0333
                                                                            Basis for the claim: Rental Equipment
                                                                            Is the claim subject to offset?
         Date or dates debt was incurred                                    ✔ No
                                                                            ❑
         Last 4 digits of account number                                    ❑ Yes
3.188 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:              $4,871.25
         Sovic Designs LLC                                                  Check all that apply.
                                                                            ❑ Contingent
         1635 Rogers Rd                                                     ❑ Unliquidated
                                                                            ❑ Disputed
         Fort Worth, TX 76107-6513
                                                                            Basis for the claim: Website Design
                                                                            Is the claim subject to offset?
         Date or dates debt was incurred                                    ✔ No
                                                                            ❑
         Last 4 digits of account number                                    ❑ Yes
         Nonpriority creditor’s name and mailing address                    As of the petition filing date, the claim is:              $39,620.00
3.189                                                                       Check all that apply.
         SQ Contracting, LLC
                                                                            ❑ Contingent
         3805 Jeanette Ln                                                   ❑ Unliquidated
                                                                            ❑ Disputed
         Mckinney, TX 75071-2436
                                                                            Basis for the claim: Subcontractor
                                                                            Is the claim subject to offset?
         Date or dates debt was incurred                                    ✔ No
                                                                            ❑
         Last 4 digits of account number                                    ❑ Yes
         Nonpriority creditor’s name and mailing address                    As of the petition filing date, the claim is:              $14,550.89
3.190                                                                       Check all that apply.
         SS Masonry LLC
                                                                            ❑ Contingent
         1801 Park Ln                                                       ❑ Unliquidated
                                                                            ❑ Disputed
         Alvarado, TX 76009-5413
                                                                            Basis for the claim: Subcontractor
                                                                            Is the claim subject to offset?
         Date or dates debt was incurred                                    ✔ No
                                                                            ❑
         Last 4 digits of account number                                    ❑ Yes




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3.191 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:              $27,636.90
         Steel King Industries Inc                                          Check all that apply.
                                                                            ❑ Contingent
         Po Box 6605                                                        ❑ Unliquidated
                                                                            ❑ Disputed
         Carol Stream, IL 60197-6605
                                                                            Basis for the claim: Materials Supplier
                                                                            Is the claim subject to offset?
         Date or dates debt was incurred                                    ✔ No
                                                                            ❑
         Last 4 digits of account number                                    ❑ Yes
3.192 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:              $4,779.20
         Stetson Building Products LL                                       Check all that apply.
                                                                            ❑ Contingent
         Po Box 856458                                                      ❑ Unliquidated
                                                                            ❑ Disputed
         Minneapolis, MN 55485-6458
                                                                            Basis for the claim: Materials Supplier
                                                                            Is the claim subject to offset?
         Date or dates debt was incurred                                    ✔ No
                                                                            ❑
         Last 4 digits of account number                                    ❑ Yes
3.193 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:              $234,425.00
         Stickfort Electric Company                                         Check all that apply.
                                                                            ❑ Contingent
         201 E 22nd St                                                      ❑ Unliquidated
                                                                            ❑ Disputed
         Cedar Falls, IA 50613-4291
                                                                            Basis for the claim: Subcontractor
                                                                            Is the claim subject to offset?
         Date or dates debt was incurred                                    ✔ No
                                                                            ❑
         Last 4 digits of account number                                    ❑ Yes
         Nonpriority creditor’s name and mailing address                    As of the petition filing date, the claim is:              $4,643.94
3.194                                                                       Check all that apply.
         Strategic Network Consulting
                                                                            ❑ Contingent
         5555 West Loop S Ste 450                                           ❑ Unliquidated
                                                                            ❑ Disputed
         Bellaire, TX 77401-2108
                                                                            Basis for the claim: IT Services
                                                                            Is the claim subject to offset?
         Date or dates debt was incurred                                    ✔ No
                                                                            ❑
         Last 4 digits of account number                                    ❑ Yes
         Nonpriority creditor’s name and mailing address                    As of the petition filing date, the claim is:              $347.13
3.195                                                                       Check all that apply.
         Stronghold Alarm Systems, Inc
                                                                            ❑ Contingent
         9123 196th Street Ct E                                             ❑ Unliquidated
                                                                            ❑ Disputed
         Graham, WA 98338-6462
                                                                            Basis for the claim: Subcontractor
                                                                            Is the claim subject to offset?
         Date or dates debt was incurred                                    ✔ No
                                                                            ❑
         Last 4 digits of account number                                    ❑ Yes




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3.196 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:              $22,875.00
         Structural Contractors                                             Check all that apply.
                                                                            ❑ Contingent
         1799 Sand Rd                                                       ❑ Unliquidated
                                                                            ❑ Disputed
         Ossian, IA 52161-8026
                                                                            Basis for the claim: Subcontractor
                                                                            Is the claim subject to offset?
         Date or dates debt was incurred                                    ✔ No
                                                                            ❑
         Last 4 digits of account number                                    ❑ Yes
3.197 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:              $41,856.55
         Summit Fire Protection                                             Check all that apply.
                                                                            ❑ Contingent
         575 Minnehaha Ave W                                                ❑ Unliquidated
                                                                            ❑ Disputed
         Saint Paul, MN 55103-1573
                                                                            Basis for the claim: Subcontractor
                                                                            Is the claim subject to offset?
         Date or dates debt was incurred                                    ✔ No
                                                                            ❑
         Last 4 digits of account number                                    ❑ Yes
3.198 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:              $2,723.75
         Sun Concrete Pumping, Co.                                          Check all that apply.
                                                                            ❑ Contingent
         2101 Se 44th Ct                                                    ❑ Unliquidated
                                                                            ❑ Disputed
         Grimes, IA 50111-4932
                                                                            Basis for the claim: Materials Supplier
                                                                            Is the claim subject to offset?
         Date or dates debt was incurred                                    ✔ No
                                                                            ❑
         Last 4 digits of account number                                    ❑ Yes
         Nonpriority creditor’s name and mailing address                    As of the petition filing date, the claim is:              $22,119.93
3.199                                                                       Check all that apply.
         Sunstate Equipment Co
                                                                            ❑ Contingent
         Po Box 208439                                                      ❑ Unliquidated
                                                                            ❑ Disputed
         Dallas, TX 75320-8439
                                                                            Basis for the claim: Rental Equipment
                                                                            Is the claim subject to offset?
         Date or dates debt was incurred                                    ✔ No
                                                                            ❑
         Last 4 digits of account number                                    ❑ Yes
         Nonpriority creditor’s name and mailing address                    As of the petition filing date, the claim is:              $10,942.67
3.200                                                                       Check all that apply.
         T-5 Distributors Forest Hill
                                                                            ❑ Contingent
         5703 Crawford Ln                                                   ❑ Unliquidated
                                                                            ❑ Disputed
         Forest Hill, TX 76119-6845
                                                                            Basis for the claim: Materials Supplier
                                                                            Is the claim subject to offset?
         Date or dates debt was incurred                                    ✔ No
                                                                            ❑
         Last 4 digits of account number                                    ❑ Yes




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3.201 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:              $12,422.65
         TAU Properties LLC                                                 Check all that apply.
                                                                            ❑ Contingent
         11506 Nicholas St Ste 100                                          ❑ Unliquidated
                                                                            ❑ Disputed
         Omaha, NE 68154-4421
                                                                            Basis for the claim: Office Lease
                                                                            Is the claim subject to offset?
         Date or dates debt was incurred                                    ✔ No
                                                                            ❑
         Last 4 digits of account number                                    ❑ Yes
3.202 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:              $16,245.25
         Terracon Consultants Inc                                           Check all that apply.
                                                                            ❑ Contingent
         Po Box 959673                                                      ❑ Unliquidated
                                                                            ❑ Disputed
         Saint Louis, MO 63195-9673
                                                                            Basis for the claim: Subcontractor
                                                                            Is the claim subject to offset?
         Date or dates debt was incurred                                    ✔ No
                                                                            ❑
         Last 4 digits of account number                                    ❑ Yes
3.203 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:              $10,696.25
         Texas Surveying Inc.                                               Check all that apply.
                                                                            ❑ Contingent
         104 S Walnut St                                                    ❑ Unliquidated
                                                                            ❑ Disputed
         Weatherford, TX 76086-4435
                                                                            Basis for the claim: Subcontractor
                                                                            Is the claim subject to offset?
         Date or dates debt was incurred                                    ✔ No
                                                                            ❑
         Last 4 digits of account number                                    ❑ Yes
         Nonpriority creditor’s name and mailing address                    As of the petition filing date, the claim is:              $112,680.00
3.204                                                                       Check all that apply.
         Texoma Industrial Insulation
                                                                            ❑ Contingent
         Po Box 497                                                         ❑ Unliquidated
                                                                            ❑ Disputed
         Denison, TX 75021-0497
                                                                            Basis for the claim: Subcontractor
                                                                            Is the claim subject to offset?
         Date or dates debt was incurred                                    ✔ No
                                                                            ❑
         Last 4 digits of account number                                    ❑ Yes
         Nonpriority creditor’s name and mailing address                    As of the petition filing date, the claim is:              $2,400.00
3.205                                                                       Check all that apply.
         The Anderson Group LLC
                                                                            ❑ Contingent
         9152 Shorewood Dr                                                  ❑ Unliquidated
                                                                            ❑ Disputed
         De Soto, KS 66018-8430
                                                                            Basis for the claim: Marketing
                                                                            Is the claim subject to offset?
         Date or dates debt was incurred                                    ✔ No
                                                                            ❑
         Last 4 digits of account number                                    ❑ Yes




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3.206 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:              $43,246.40
         The Brandt Companies, LLC                                          Check all that apply.
                                                                            ❑ Contingent
         Po Box 227351                                                      ❑ Unliquidated
                                                                            ❑ Disputed
         Dallas, TX 75222-7351
                                                                            Basis for the claim: Subcontractor
                                                                            Is the claim subject to offset?
         Date or dates debt was incurred                                    ✔ No
                                                                            ❑
         Last 4 digits of account number                                    ❑ Yes
3.207 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:              $26,719.00
         The Fricks Company Inc                                             Check all that apply.
                                                                            ❑ Contingent
         3000 W Loop 820 S                                                  ❑ Unliquidated
                                                                            ❑ Disputed
         Fort Worth, TX 76116-5990
                                                                            Basis for the claim: Subcontractor
                                                                            Is the claim subject to offset?
         Date or dates debt was incurred                                    ✔ No
                                                                            ❑
         Last 4 digits of account number                                    ❑ Yes
3.208 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:              $23,962.80
         The Home Depot                                                     Check all that apply.
                                                                            ❑ Contingent
         Home Depot Credit Services                                         ❑ Unliquidated
                                                                            ❑ Disputed
         P.O. Box 790345                                                    Basis for the claim: Credit Card Charges
         Saint Louis, MO 63179                                              Is the claim subject to offset?
                                                                            ✔ No
                                                                            ❑
                                                                            ❑ Yes
         Date or dates debt was incurred

         Last 4 digits of account number       1   1   0     4

         Nonpriority creditor’s name and mailing address                    As of the petition filing date, the claim is:              $2,041.86
3.209                                                                       Check all that apply.
         The Sherwin-Williams Co.
                                                                            ❑ Contingent
         2801 E Pioneer Pkwy Ste 130                                        ❑ Unliquidated
                                                                            ❑ Disputed
         Arlington, TX 76010-6900
                                                                            Basis for the claim: Materials Supplier
                                                                            Is the claim subject to offset?
         Date or dates debt was incurred                                    ✔ No
                                                                            ❑
         Last 4 digits of account number                                    ❑ Yes
         Nonpriority creditor’s name and mailing address                    As of the petition filing date, the claim is:              $1,634.47
3.210                                                                       Check all that apply.
         TJ Services
                                                                            ❑ Contingent
         400 W. I-20 Suite 100                                              ❑ Unliquidated
                                                                            ❑ Disputed
         Weatherford, TX 76086
                                                                            Basis for the claim: Rental Equipment
                                                                            Is the claim subject to offset?
         Date or dates debt was incurred                                    ✔ No
                                                                            ❑
         Last 4 digits of account number                                    ❑ Yes




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3.211 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:              $774.00
         Trinity Valley Building Center                                     Check all that apply.
                                                                            ❑ Contingent
         6920 C F Hawn Fwy                                                  ❑ Unliquidated
                                                                            ❑ Disputed
         Dallas, TX 75217-4809
                                                                            Basis for the claim: Materials Supplier
                                                                            Is the claim subject to offset?
         Date or dates debt was incurred                                    ✔ No
                                                                            ❑
         Last 4 digits of account number                                    ❑ Yes
3.212 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:              $1,600.00
         Triple W Metal Building Cons                                       Check all that apply.
                                                                            ❑ Contingent
         1200 S Main St Ste 112                                             ❑ Unliquidated
                                                                            ❑ Disputed
         Weatherford, TX 76086-5988
                                                                            Basis for the claim: Subcontractor
                                                                            Is the claim subject to offset?
         Date or dates debt was incurred                                    ✔ No
                                                                            ❑
         Last 4 digits of account number                                    ❑ Yes
3.213 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:              $271,571.87
         Twinlode Corporation                                               Check all that apply.
                                                                            ❑ Contingent
         635 S Lafayette Blvd Ste 108                                       ❑ Unliquidated
                                                                            ❑ Disputed
         South Bend, IN 46601-2219
                                                                            Basis for the claim: Subcontractor
                                                                            Is the claim subject to offset?
         Date or dates debt was incurred                                    ✔ No
                                                                            ❑
         Last 4 digits of account number                                    ❑ Yes
         Nonpriority creditor’s name and mailing address                    As of the petition filing date, the claim is:              $277,059.21
3.214                                                                       Check all that apply.
         United Rentals (North America)
                                                                            ❑ Contingent
         Po Box 840514                                                      ❑ Unliquidated
                                                                            ❑ Disputed
         Dallas, TX 75284-0514
                                                                            Basis for the claim: Equipment Rental
                                                                            Is the claim subject to offset?
         Date or dates debt was incurred                                    ✔ No
                                                                            ❑
         Last 4 digits of account number                                    ❑ Yes
         Nonpriority creditor’s name and mailing address                    As of the petition filing date, the claim is:              $13,073.27
3.215                                                                       Check all that apply.
         United Site Services
                                                                            ❑ Contingent
         Po Box 660475                                                      ❑ Unliquidated
                                                                            ❑ Disputed
         Dallas, TX 75266-0475
                                                                            Basis for the claim: Rental Equipment
                                                                            Is the claim subject to offset?
         Date or dates debt was incurred                                    ✔ No
                                                                            ❑
         Last 4 digits of account number                                    ❑ Yes




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3.216 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:              $0.00
         W.J. Sapp & Son Inc                                                Check all that apply.
                                                                            ❑ Contingent
         Po Box 126                                                         ❑ Unliquidated
                                                                            ❑ Disputed
         Baldwin, FL 32234-0126
                                                                            Basis for the claim: Subcontractor
                                                                            Is the claim subject to offset?
         Date or dates debt was incurred                                    ✔ No
                                                                            ❑
         Last 4 digits of account number                                    ❑ Yes
3.217 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:              $279.48
         Waste Control Recycling Inc                                        Check all that apply.
                                                                            ❑ Contingent
         1150 3rd Ave                                                       ❑ Unliquidated
                                                                            ❑ Disputed
         Longview, WA 98632-3205
                                                                            Basis for the claim: Rental Equipment
                                                                            Is the claim subject to offset?
         Date or dates debt was incurred                                    ✔ No
                                                                            ❑
         Last 4 digits of account number                                    ❑ Yes
3.218 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:              $1,477.48
         Waste Management                                                   Check all that apply.
                                                                            ❑ Contingent
         Po Box 55558                                                       ❑ Unliquidated
                                                                            ❑ Disputed
         Boston, MA 02205-5558
                                                                            Basis for the claim: Rental Equipment
                                                                            Is the claim subject to offset?
         Date or dates debt was incurred                                    ✔ No
                                                                            ❑
         Last 4 digits of account number                                    ❑ Yes
         Nonpriority creditor’s name and mailing address                    As of the petition filing date, the claim is:              $972.26
3.219                                                                       Check all that apply.
         Waste Management of Arkansas
                                                                            ❑ Contingent
         Po Box 55558                                                       ❑ Unliquidated
                                                                            ❑ Disputed
         Boston, MA 02205-5558
                                                                            Basis for the claim: Rental Equipment
                                                                            Is the claim subject to offset?
         Date or dates debt was incurred                                    ✔ No
                                                                            ❑
         Last 4 digits of account number                                    ❑ Yes
         Nonpriority creditor’s name and mailing address                    As of the petition filing date, the claim is:              $25,426.53
3.220                                                                       Check all that apply.
         Waste Solutions of Iowa
                                                                            ❑ Contingent
         Po Box 938                                                         ❑ Unliquidated
                                                                            ❑ Disputed
         Des Moines, IA 50304-0938
                                                                            Basis for the claim: Rental Equipment
                                                                            Is the claim subject to offset?
         Date or dates debt was incurred                                    ✔ No
                                                                            ❑
         Last 4 digits of account number                                    ❑ Yes




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3.221 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:              $23,538.00
         Weiland                                                            Check all that apply.
                                                                            ❑ Contingent
         806 W South Airport Rd                                             ❑ Unliquidated
                                                                            ❑ Disputed
         Norfolk, NE 68701-1312
                                                                            Basis for the claim: Materials Supplier
                                                                            Is the claim subject to offset?
         Date or dates debt was incurred                                    ✔ No
                                                                            ❑
         Last 4 digits of account number                                    ❑ Yes
3.222 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:              $96,734.83
         West End                                                           Check all that apply.
                                                                            ❑ Contingent
         Po Box 840567                                                      ❑ Unliquidated
                                                                            ❑ Disputed
         Dallas, TX 75284-0567
                                                                            Basis for the claim: Materials Supplier
                                                                            Is the claim subject to offset?
         Date or dates debt was incurred                                    ✔ No
                                                                            ❑
         Last 4 digits of account number                                    ❑ Yes
3.223 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:              $3,632.08
         Western Sheet Metal                                                Check all that apply.
                                                                            ❑ Contingent
         2406 Hinton Dr                                                     ❑ Unliquidated
                                                                            ❑ Disputed
         Irving, TX 75061-5710
                                                                            Basis for the claim: Materials Supplier
                                                                            Is the claim subject to offset?
         Date or dates debt was incurred                                    ✔ No
                                                                            ❑
         Last 4 digits of account number                                    ❑ Yes
         Nonpriority creditor’s name and mailing address                    As of the petition filing date, the claim is:              $9,740.64
3.224                                                                       Check all that apply.
         Wex Bank
                                                                            ❑ Contingent
         P.O. Box 639                                                       ❑ Unliquidated
                                                                            ❑ Disputed
         Portland, ME 04104
                                                                            Basis for the claim: Credit Card Charges
                                                                            Is the claim subject to offset?
         Date or dates debt was incurred                                    ✔ No
                                                                            ❑
         Last 4 digits of account number       7   6   -     8              ❑ Yes
         Nonpriority creditor’s name and mailing address                    As of the petition filing date, the claim is:              $3,682.36
3.225                                                                       Check all that apply.
         White Cap, L.P.
                                                                            ❑ Contingent
         Po Box 4852                                                        ❑ Unliquidated
                                                                            ❑ Disputed
         Orlando, FL 32802-4852
                                                                            Basis for the claim: Materials Supplier
                                                                            Is the claim subject to offset?
         Date or dates debt was incurred                                    ✔ No
                                                                            ❑
         Last 4 digits of account number                                    ❑ Yes




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3.226 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:              $140,092.21
         Whole Excavation LLC                                               Check all that apply.
                                                                            ❑ Contingent
         Po Box 126                                                         ❑ Unliquidated
                                                                            ❑ Disputed
         Hudson, IA 50643-0126
                                                                            Basis for the claim: Subcontractor
                                                                            Is the claim subject to offset?
         Date or dates debt was incurred                                    ✔ No
                                                                            ❑
         Last 4 digits of account number                                    ❑ Yes
3.227 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:              $1,518.39
         Williams Scotsman                                                  Check all that apply.
                                                                            ❑ Contingent
         Po Box 91975                                                       ❑ Unliquidated
                                                                            ❑ Disputed
         Chicago, IL 60693-1975
                                                                            Basis for the claim: Rental Equipment
                                                                            Is the claim subject to offset?
         Date or dates debt was incurred                                    ✔ No
                                                                            ❑
         Last 4 digits of account number                                    ❑ Yes
3.228 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:              $2,157.50
         Willis Commercial Painting LLC                                     Check all that apply.
                                                                            ❑ Contingent
         896 S Cherry Ln                                                    ❑ Unliquidated
                                                                            ❑ Disputed
         Wht Settlemt, TX 76108-3213
                                                                            Basis for the claim: Subcontractor
                                                                            Is the claim subject to offset?
         Date or dates debt was incurred                                    ✔ No
                                                                            ❑
         Last 4 digits of account number                                    ❑ Yes
         Nonpriority creditor’s name and mailing address                    As of the petition filing date, the claim is:              $7,517.59
3.229                                                                       Check all that apply.
         Winsupply
                                                                            ❑ Contingent
         Po Box 105525                                                      ❑ Unliquidated
                                                                            ❑ Disputed
         Atlanta, GA 30348-5525
                                                                            Basis for the claim: Materials Supplier
                                                                            Is the claim subject to offset?
         Date or dates debt was incurred                                    ✔ No
                                                                            ❑
         Last 4 digits of account number                                    ❑ Yes
         Nonpriority creditor’s name and mailing address                    As of the petition filing date, the claim is:              $7,123.08
3.230                                                                       Check all that apply.
         Wise Ready Mix Inc
                                                                            ❑ Contingent
         Po Box 488                                                         ❑ Unliquidated
                                                                            ❑ Disputed
         Bridgeport, TX 76426-0488
                                                                            Basis for the claim: Materials Supplier
                                                                            Is the claim subject to offset?
         Date or dates debt was incurred                                    ✔ No
                                                                            ❑
         Last 4 digits of account number                                    ❑ Yes




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3.231 Nonpriority creditor’s name and mailing address                    As of the petition filing date, the claim is:              $240.00
         Wortham Insurance and Risk M                                    Check all that apply.
                                                                         ❑ Contingent
         Po Box 731463                                                   ❑ Unliquidated
                                                                         ❑ Disputed
         Dallas, TX 75373-1463
                                                                         Basis for the claim: Construction Bond
                                                                         Is the claim subject to offset?
         Date or dates debt was incurred                                 ✔ No
                                                                         ❑
         Last 4 digits of account number                                 ❑ Yes




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 Part 4: Total Amounts of the Priority and Nonpriority Unsecured Claims


  5.     Add the amounts of priority and nonpriority unsecured claims.


                                                                                                      Total of claim amounts



  5a. Total claims from Part 1                                                        5a.              $45,503.93




  5b. Total claims from Part 2                                                        5b.              $11,976,202.76
                                                                                             +

  5c. Total of Parts 1 and 2                                                          5c.              $12,021,706.69
      Lines 5a + 5b = 5c.




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 Fill in this information to identify the case:

 Debtor name                         O'Connor Construction Group, LLC

 United States Bankruptcy Court for the:
                                   Northern District of Texas


 Case number (if known):                                          Chapter    11                                                          ❑Check if this is an
                                                                                                                                            amended filing

Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                                  12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries
consecutively.
 1.    Does the debtor have any executory contracts or unexpired leases?
       ❑ No. Check this box and file this form with the court with the debtor’s other schedules. There is nothing else to report on this form.
       ✔ Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property (Official Form 206A/B).
       ❑
 2. List all contracts and unexpired leases                                                    State the name and mailing address for all other parties with whom the
                                                                                               debtor has an executory contract or unexpired lease

        State what the contract or lease is       2019 Ford Super Duty F-250 SRW               Ford Motor Credit Company LLC
2.1     for and the nature of the debtor’s
        interest                                                                               PO Box 650574

        State the term remaining                                                               Dallas, TX 75265-0574
                                                  3 months
        List the contract number of any
        government contract

        State what the contract or lease is       D6NXL Caterpillar Track Type Tractor         Caterpillar Financial Services Corporation
2.2     for and the nature of the debtor’s
        interest                                                                               2120 West End Avenue

        State the term remaining                                                               Nashville, TN 37203
                                                  4 months
        List the contract number of any
        government contract

        State what the contract or lease is       320EL Caterpillar Hydraulic Excavator        Caterpillar Financial Services Corporation
2.3     for and the nature of the debtor’s
        interest                                                                               2120 West End Avenue

        State the term remaining                                                               Nashville, TN 37203
                                                  4 months
        List the contract number of any
        government contract

        State what the contract or lease is       Office Lease at 4150 International           FLDR/TLC Overton Centre L.P.
2.4     for and the nature of the debtor’s        Plaza
        interest                                                                               4150 International Plaza Suite 104
                                                  Contract to be REJECTED                      Fort Worth, TX 76109
        State the term remaining
                                                  1 months
        List the contract number of any
        government contract

        State what the contract or lease is       Office Lease in Omaha, Nebraska              TAU Properties LLC
2.5     for and the nature of the debtor’s
        interest                                  Contract to be REJECTED                      11506 Nicholas St Ste 100

        State the term remaining                                                               Omaha, NE 68154-4421
                                                  17 months
        List the contract number of any
        government contract




Official Form 206G                                            Schedule G: Executory Contracts and Unexpired Leases                                               page 1 of 4
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Debtor      O'Connor Construction Group, LLC                                                                 Case number (if known)
           Name

         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

       Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

   List all contracts and unexpired leases                                               State the name and mailing address for all other parties with whom the
                                                                                         debtor has an executory contract or unexpired lease

         State what the contract or lease is   VOIP Phone System and                      IntegraCom, Inc.
2.6      for and the nature of the debtor’s    Maintenance Service Agreement
         interest                                                                         545 E. John Carpenter Frwy Suite 300

         State the term remaining                                                         Irving, TX 75062

         List the contract number of any       0 months
         government contract


         State what the contract or lease is   HP T2500PS Multifunction Printer           ImageNet Consulting LLC
2.7      for and the nature of the debtor’s
         interest                                                                         913 N Broadway Ave

         State the term remaining                                                         Oklahoma City, OK 73102-5810
                                               5 months
         List the contract number of any
         government contract

         State what the contract or lease is   HP CLJ E876a Series Lasor Jet              ImageNet Consulting LLC
2.8      for and the nature of the debtor’s    Printer
         interest                                                                         913 N Broadway Ave

         State the term remaining                                                         Oklahoma City, OK 73102-5810

         List the contract number of any       5 months
         government contract


         State what the contract or lease is   HP CLJE778DN Series Printer                ImageNet Consulting LLC
2.9      for and the nature of the debtor’s
         interest                                                                         913 N Broadway Ave

         State the term remaining                                                         Oklahoma City, OK 73102-5810
                                               5 months
         List the contract number of any
         government contract

         State what the contract or lease is   Communications Service Agreement           NexVortex
2.10     for and the nature of the debtor’s
         interest                                                                         BCM One

         State the term remaining                                                         P.O. Box 22500
                                               10 months
                                                                                          New York, NY 10087-2250
         List the contract number of any
         government contract

         State what the contract or lease is   Internet Service Agreement                 Rise Broadband
2.11     for and the nature of the debtor’s
         interest                                                                         61 Inverness Drive, East Suite 250

         State the term remaining                                                         Englewood, CO 80112
                                               26 months
         List the contract number of any
         government contract

         State what the contract or lease is   Lot and mobile home located at Site        YES Companies EXP Key, LLC dba Cedar Knoll
2.12     for and the nature of the debtor’s    #73 at Cedar Knoll in Waterloo, IA.
         interest                                                                         5050 S. Syracuse Street Suite 1200

         State the term remaining                                                         Denver, CO 80237

         List the contract number of any       3 months
         government contract




Official Form 206G                                        Schedule G: Executory Contracts and Unexpired Leases                                        page 2 of 4
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Debtor      O'Connor Construction Group, LLC                                                                   Case number (if known)
           Name

         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

       Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

   List all contracts and unexpired leases                                               State the name and mailing address for all other parties with whom the
                                                                                         debtor has an executory contract or unexpired lease

         State what the contract or lease is   Wesson Construction Contract for           Miakoda Property LP
2.13     for and the nature of the debtor’s    New Facility
         interest                                                                         9408 Palencia Ct

         State the term remaining                                                         Fort Worth, TX 76126-1936

         List the contract number of any       0 months
         government contract


         State what the contract or lease is   Cargill Weatherford Contract for           Provimi North America, Inc.
2.14     for and the nature of the debtor’s    Renovation of Breakroom and Build
         interest                                                                         6571 State Route 503
                                               Small Addition
         State the term remaining                                                         Lewisburg, OH 45338

         List the contract number of any
         government contract                   0 months




         State what the contract or lease is   Cargill Fort Worth Contract to Demo        Cargill Meat Solutions Corporation
2.15     for and the nature of the debtor’s    Existing Building
         interest                                                                         P.O. Box 2519

         State the term remaining                                                         Wichita, KS 67202

         List the contract number of any       0 months
         government contract


         State what the contract or lease is   Cypress Cold Storage Contract to           Cypress Cold Storage
2.16     for and the nature of the debtor’s    Re-Roof Facility
         interest                                                                         1301 Gregory Street

         State the term remaining                                                         North Little Rock, AR 72114

         List the contract number of any       0 months
         government contract


         State what the contract or lease is   Crystal Distribution Contract for          Crystal Distribution Services, Inc.
2.17     for and the nature of the debtor’s    Cold Storage & Process Facility
         interest                                                                         1656 Sycamore Street
                                               Expansion
         State the term remaining                                                         Waterloo, IA 50703

         List the contract number of any
         government contract                   0 months




         State what the contract or lease is   USCS Laredo Panels Contract to             United States Cold Storage
2.18     for and the nature of the debtor’s    Install Insulated Panels
         interest                                                                         2 Aquarium Drive Suite 400

         State the term remaining                                                         Camden, NJ 08103

         List the contract number of any       0 months
         government contract




Official Form 206G                                        Schedule G: Executory Contracts and Unexpired Leases                                         page 3 of 4
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Debtor      O'Connor Construction Group, LLC                                                                Case number (if known)
           Name

         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

       Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

   List all contracts and unexpired leases                                               State the name and mailing address for all other parties with whom the
                                                                                         debtor has an executory contract or unexpired lease

         State what the contract or lease is   USCS Denton Contract to Dock               United States Cold Storage
2.19     for and the nature of the debtor’s    Expansion & Paving
         interest                                                                         2 Aquarium Drive Suite 400

         State the term remaining                                                         Camden, NJ 08103

         List the contract number of any       0 months
         government contract


         State what the contract or lease is   USCS Lake City Contract for New            United States Cold Storage
2.20     for and the nature of the debtor’s    Rail dock & Site Work
         interest                                                                         2 Aquarium Drive Suite 400

         State the term remaining                                                         Camden, NJ 08103

         List the contract number of any       0 months
         government contract


         State what the contract or lease is   USCS Fort Worth Contract for New           United States Cold Storage
2.21     for and the nature of the debtor’s    Dehumidifier on Rail Dock
         interest                                                                         2 Aquarium Drive Suite 400

         State the term remaining                                                         Camden, NJ 08103

         List the contract number of any       0 months
         government contract


         State what the contract or lease is   Fresh Innovations Contract for             Fresh Innovations, LLC
2.22     for and the nature of the debtor’s    Parking Lot & Misc. Sitework
         interest                                                                         3810 TX 114

         State the term remaining                                                         Rhome, TX 76078

         List the contract number of any       0 months
         government contract




Official Form 206G                                        Schedule G: Executory Contracts and Unexpired Leases                                         page 4 of 4
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 Fill in this information to identify the case:

 Debtor name                         O'Connor Construction Group, LLC

 United States Bankruptcy Court for the:
                                   Northern District of Texas


 Case number (if known):                                                                                                                 ❑Check if this is an
                                                                                                                                             amended filing

Official Form 206H
Schedule H: Codebtors                                                                                                                                                  12/15
Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the Additional Page to this
page.


  1. Does the debtor have any codebtors?
        ❑No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
        ✔Yes
        ❑
  2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of creditors, Schedules
     D-G.Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule on which the creditor is listed. If the
     codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.

         Column 1: Codebtor                                                                                         Column 2: Creditor
                                                                                                                                                     Check all schedules
            Name                                   Mailing Address                                                  Name
                                                                                                                                                     that apply:

  2.1     Alex Baumgartner                        1225 E Bankhead Hwy                                               CIT Bank, N.A.                     ✔D
                                                                                                                                                       ❑
                                                  Street
                                                                                                                                                       ❑E/F
                                                                                                                                                       ❑G
                                                  Weatherford, TX 76086
                                                  City                                State         ZIP Code



  2.2     Danny Milligan                          9657 Old Agnes Road                                               Breakout Capital, LLC              ✔D
                                                                                                                                                       ❑
                                                  Street
                                                                                                                                                       ❑E/F
                                                                                                                                                       ❑G
                                                  Springtown, TX 76082
                                                  City                                State         ZIP Code
                                                                                                                    CIT Bank, N.A.                     ✔D
                                                                                                                                                       ❑
                                                                                                                                                       ❑E/F
                                                                                                                                                       ❑G

  2.3     O'Connor, Amy                           173 County Road 3850                                              Breakout Capital, LLC              ✔D
                                                                                                                                                       ❑
                                                  Street
                                                                                                                                                       ❑E/F
                                                                                                                                                       ❑G
                                                  Poolville, TX 76487-2315
                                                  City                                State         ZIP Code
                                                                                                                    Green Capital Funding              ❑D
                                                                                                                                                       ✔E/F
                                                                                                                                                       ❑
                                                                                                                                                       ❑G
                                                                                                                    Union Funding Source, Inc          ✔D
                                                                                                                                                       ❑
                                                                                                                                                       ❑E/F
                                                                                                                                                       ❑G
                                                                                                                    AgTexas FLCA                       ✔D
                                                                                                                                                       ❑
                                                                                                                                                       ❑E/F
                                                                                                                                                       ❑G




Official Form 206H                                                           Schedule H: Codebtors                                                            page 1 of 3
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Debtor      O'Connor Construction Group, LLC                                                             Case number (if known)
            Name


          Additional Page if Debtor Has More Codebtors

           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.


   Column 1: Codebtor                                                                                     Column 2: Creditor
                                                                                                                                        Check all schedules
         Name                        Mailing Address                                                      Name
                                                                                                                                        that apply:

                                                                                                          CIT Bank, N.A.                 ✔D
                                                                                                                                         ❑
                                                                                                                                         ❑E/F
                                                                                                                                         ❑G



  2.4     O'Connor, Paul                173 County Road 3850                                              Breakout Capital, LLC          ✔D
                                                                                                                                         ❑
                                        Street
                                                                                                                                         ❑E/F
                                                                                                                                         ❑G
                                        Poolville, TX 76487-2315
                                        City                                   State        ZIP Code
                                                                                                          Green Capital Funding          ❑D
                                                                                                                                         ✔E/F
                                                                                                                                         ❑
                                                                                                                                         ❑G

                                                                                                          Union Funding Source, Inc      ✔D
                                                                                                                                         ❑
                                                                                                                                         ❑E/F
                                                                                                                                         ❑G

                                                                                                          AgTexas FLCA                   ✔D
                                                                                                                                         ❑
                                                                                                                                         ❑E/F
                                                                                                                                         ❑G

                                                                                                          TAU Properties LLC             ❑D
                                                                                                                                         ✔E/F
                                                                                                                                         ❑
                                                                                                                                         ❑G

                                                                                                          CIT Bank, N.A.                 ✔D
                                                                                                                                         ❑
                                                                                                                                         ❑E/F
                                                                                                                                         ❑G

                                                                                                          Creditors Relief, LLC          ❑D
                                                                                                                                         ✔E/F
                                                                                                                                         ❑
                                                                                                                                         ❑G



  2.5
                                        Street




                                        City                                   State        ZIP Code




Official Form 206H                                                     Schedule H: Codebtors                                                      page 2 of 3
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Debtor      O'Connor Construction Group, LLC                                                             Case number (if known)
            Name


          Additional Page if Debtor Has More Codebtors

           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.


   Column 1: Codebtor                                                                                     Column 2: Creditor
                                                                                                                                     Check all schedules
         Name                        Mailing Address                                                      Name
                                                                                                                                     that apply:




  2.6
                                        Street




                                        City                                   State        ZIP Code




Official Form 206H                                                     Schedule H: Codebtors                                                   page 3 of 3
               Case 22-40187-elm11 Doc 46 Filed 02/11/22                                      Entered 02/11/22 21:33:48                     Page 89 of 89


 Fill in this information to identify the case:

 Debtor name                         O'Connor Construction Group, LLC

 United States Bankruptcy Court for the:
                                   Northern District of Texas


 Case number (if known):                                                                                                                    ❑Check if this is an
                                                                                                                                               amended filing

Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                                         12/15
An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this form for the
schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any amendments of those documents.
This form must state the individual’s position or relationship to the debtor, the identity of the document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in connection with a
bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



           Declaration and signature

         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another individual serving as a
         representative of the debtor in this case.
         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


         ❑x     Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

         ❑x     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

         ❑x     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

         ❑x     Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

         ❑x     Schedule H: Codebtors (Official Form 206H)

         ❑x     A Summary of Assets and Liabilities for Non-Individuals (Official Form 206A-Summary)

         ❑      Amended Schedule

         ❑      Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)

         ❑      Other document that requires a declaration




         I declare under penalty of perjury that the foregoing is true and correct.



         Executed on 02/11/2022
                          MM/ DD/ YYYY
                                                                                ✘ /s/ Paul O'Connor
                                                                                      Signature of individual signing on behalf of debtor


                                                                                      Paul O'Connor
                                                                                      Printed name


                                                                                       Member/Manager
                                                                                      Position or relationship to debtor




Official Form B202                                      Declaration Under Penalty of Perjury for Non-Individual Debtors
